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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 LOTUS INDUSTRIES, LLC D/B/A
 CENTRE PARK BAR; CHRISTOPHER
 WILLIAMS; ROBERT DAVIS; and
 A FELON’S CRUSADE FOR
 EQUALITY, HONESTY, AND
 TRUTH,

        Plaintiffs,                          Case No. 2:17-cv-13482
                                             Hon. Sean F. Cox
   v.                                        Mag. Anthony P. Patti

 CITY OF DETROIT; DENNIS
 ARCHER JR.; IGNITION MEDIA;
 TOTAL OUTDOOR; and RUTH
 JOHNSON,

        Defendants.

 and

 CITY OF DETROIT DOWNTOWN
 DEVELOPMENT AUTHORITY,

        Respondent.


    PATERSON LAW FIRM                     KOTZ SANGSTER WYSOCKI P.C.
    By: Andrew A. Paterson (P18690)       By: Jeffrey M. Sangster (P30791)
    Counsel for Plaintiffs                    Anthony M. Sciara (P75778)
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     HONIGMAN LLP                           CITY OF DETROIT LAW
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         Derek R. Mullins (P81422)          By: James D. Noseda (P52563)
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            RESPONDENT CITY OF DETROIT DOWNTOWN
       DEVELOPMENT AUTHORITY’S MOTION FOR A PROTECTIVE
        ORDER IN CONNECTION WITH THE COURT’S [119] ORDER
         GRANTING IN PART AND DENYING IN PART PLAINTIFF
           CHRISTOPHER WILLIAMS’S MOTION TO COMPEL

        Now comes Respondent City of Detroit Downtown Development Authority,

   by its counsel, Kotz Sangster Wysocki P.C., in accordance with Federal Rules of

   Civil Procedure 26 and 45, and for its Motion for a Protective Order in

   Connection with the Court’s [119] Order Granting in Part and Denying in Part

   Christopher William’s Motion to Compel, states:

        WHEREFORE, Respondent City of Detroit Downtown Development

   Authority respectfully requests that, in accordance with Federal Rules of Civil

   Procedure 26 and 45, and for the reasons stated in its brief in support of this

   motion and the exhibits appended thereto, this Court grant its Motion for a

   Protective Order in Connection with the Court’s [119] Order Granting in Part and

   Denying in Part Christopher William’s Motion to Compel.
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                                           Respectfully submitted,

                                           KOTZ SANGSTER WYSOCKI P.C.

   Dated: April 19, 2019             By:   /s/ Jeffrey M. Sangster

                                           Jeffrey M. Sangster (P30791)
                                           Anthony M. Sciara (P75778)
                                           Counsel for Respondent DDA
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 LOTUS INDUSTRIES, LLC D/B/A
 CENTRE PARK BAR; CHRISTOPHER
 WILLIAMS; ROBERT DAVIS; and
 A FELON’S CRUSADE FOR
 EQUALITY, HONESTY, AND
 TRUTH,

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                                              Hon. Sean F. Cox
   v.                                         Mag. Anthony P. Patti

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 and

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 DEVELOPMENT AUTHORITY,

        Respondent.


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    Counsel for Plaintiffs                     Anthony M. Sciara (P75778)
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     HONIGMAN LLP                              CITY OF DETROIT LAW
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         Derek R. Mullins (P81422)             By: James D. Noseda (P52563)
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            RESPONDENT CITY OF DETROIT DOWNTOWN
       DEVELOPMENT AUTHORITY’S MOTION FOR A PROTECTIVE
        ORDER IN CONNECTION WITH THE COURT’S [119] ORDER
         GRANTING IN PART AND DENYING IN PART PLAINTIFF
           CHRISTOPHER WILLIAMS’S MOTION TO COMPEL

        Now comes Respondent City of Detroit Downtown Development Authority,

   by its counsel, Kotz Sangster Wysocki P.C., in accordance with Federal Rules of

   Civil Procedure 26 and 45, and for its Brief in Support of its Motion for a

   Protective Order in Connection with the Court’s [119] Order Granting in Part and

   Denying in Part Christopher William’s Motion to Compel, states:




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                             QUESTIONS PRESENTED

   A. Should the Court extend the time for City of Detroit Downtown
      Development Authority’s (“DDA’s”) compliance with the Court’s [119]
      Order Granting in Part and Denying in Part Christopher William’s
      (“Williams’s”) Motion to Compel (“Order”) for 90 days?

             DDA:               Yes.
             Williams:          No.

   B. In order to avoid imposing an undue burden and significant expense on
      nonparty DDA, should Williams be ordered to pay DDA a reasonable
      portion of the costs of complying with the Order before DDA must
      undertake further efforts to comply with the Order?

             DDA:               Yes.
             Williams:          No.

                           CONCURRENCE STATEMENT

 In accordance with Local Rule 7.1, and this Court’s Practice Guidelines, on April
 19, 2019, at 10:00 a.m., there was a telephone conference between counsel for
 DDA and Williams during which counsel for DDA explained the nature of this
 motion, and its legal basis, and requested but did not obtain, concurrence in the
 relief sought. (See Email Chain, attached as Exhibit 1).




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           CONTROLLING OR MOST APPROPRIATE LEGAL AUTHORITIES

    A. Fed. R. Civ. P. 26

    B. Fed. R. Civ. P. 45

    C. Hennigan v. Gen. Elec. Co., 2012 WL 13005370, *1-2 (E.D. Mich., April 2,
       2012)




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                                    BACKGROUND

        On September 13, 2018, Williams issued a Subpoena (“Subpoena”) to

   Respondent DDA. The Subpoena asked for 13 separate categories of documents.

   On September 27, 2018, DDA served an Objection to the Subpoena. On January

   9, 2018, the Court allowed Williams’s to file a motion asking the Court to compel

   production of the documents requested in the Subpoena.1 On January 27, 2019,

   Williams filed a motion to compel production of the documents requested in the

   Subpoena. On February 11, 2019, DDA filed a response to the motion to compel

   production of the documents requested in the Subpoena.

        After this Court heard oral arguments, on March 27, 2019, the Court entered

   the Order. (See Order, attached as Exhibit 2). The Order denied 10 of the 13

   requests, but partially granted 3 of the requests. (Id.). According to the Order, by

   April 26, 2019, DDA is required to produce documents responsive to the

   following requests, but limited to those from November 19, 2016, to the present:




   1
     On November 6, 2018, this Court ordered Williams to obtain permission from
   the Court before filing any discovery motions. (See ECF Doc. No. 88).
                                           1
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   (Id.). The Order also acknowledges DDA may withhold documents on the basis

   of privilege and directs DDA to produce a federally compliant privilege log.

   (Id.).2

         DDA intends to produce the documents ordered by the Court. Since the

   Order was entered, however, DDA has discovered the volume of potentially

   responsive electronically stored information, which must be exported, uploaded,

   reviewed, and produced is substantially larger than anticipated. The process will

   impose a significant expense on DDA and require far more time to complete than

   allowed by the Order. DDA has discussed these issues with Williams, asked for

   additional time to produce, and requested Williams pay a reasonable portion of

   the expense so as to avoid imposing an undue burden on DDA. Williams has not

   agreed. (See Exhibit 1). Accordingly, for the reasons discussed below, DDA


   2
     The order further limits “the use and disclosure of … documents produced
   pursuant to this Order … to this lawsuit only.” (Exhibit 2) (emphasis in
   original).
                                          2
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   requests this Court enter a protective order, which allows 90 additional days to

   produce and orders Williams to pay a reasonable portion of the expense before

   DDA must undertake further efforts to comply with the Order.

                                   LEGAL STANDARD

        A party or attorney responsible for issuing and serving a subpoena must take

   reasonable steps to avoid imposing undue burden or expense on a person subject

   to the subpoena. Fed. R. Civ. P. 45(d)(1). If a party can show (through a motion

   for protective order) electronically stored information is not reasonably accessible

   because of undue burden or cost, the party need not provide discovery of such

   electronically stored information. Fed. R. Civ. P. 26(b)(2)(B). A party or any

   person from whom discovery is sought may move for a protective order, which

   protects the party or person from annoyance, embarrassment, oppression, or

   undue burden or expense, including an order specifying the time and place, or the

   allocation of expenses, for the disclosure or discovery.         Fed. R. Civ. P.

   26(c)(1)(B).




                                           3
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                                      ARGUMENT

        I. The Court Should Allow A 90-Day Extension For DDA To Comply
           With The Order

        The Order was entered on March 27, 2019. The Order directs DDA to

  produce responsive documents and a federally compliant privilege log by April 26,

  2019.3 The Order requires DDA to produce “any and all emails sent to and/or

  from” Rebecca Navin, Moddie Turay, and Mark Denson “from [November 19,

  2016] to the present that mention, relate and/or pertain to Centre Park Bar, Lotus

  Industries LLC, Paradise Valley, Paradise Valley bidding process, Christopher

  Williams, Kenneth Scott Bridgewater, Dennis Archer Jr., Ignition Media, [and]

  Gotham Partners.”

        In order to comply with the Order, DDA must do the following: (1) have a

  third-party technology consultant export all emails to/from Rebecca Navin,

  Moddie Turay, and Mark Denson from November 19, 2016, to the present; (2)

  have the third-party technology consultant deliver the data to counsel for DDA; (3)

  have counsel upload the data to its third-party e-discovery platform (Nextpoint);

  (4) have counsel create a series of search terms designed to identify responsive

  communications; (5) have counsel use the search terms to segregate the responsive

   3
     The Court expressly referenced a privilege log in the Order because, in DDA’s
   response, and at the hearing, DDA noted the certainty privileged materials will
   be involved. This was/is because, aside from outside counsel’s possible
   involvement with many communications, one of the three subject individuals,
   Rebecca Navin, is general counsel to DDA.
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  communications;     (6)   have   counsel       review   the   segregated   responsive

  communications for privileged materials; (7) have counsel create a federally-

  compliant privilege log identifying withheld materials; (8) have counsel prepare

  the non-privileged communications for disclosure; and (9) have counsel produce

  the non-privileged communications and privilege log to Williams.

        Significantly, in order to accomplish the first step, DDA’s third-party

  technology consultant has estimated approximately 48.5 Gigabytes (“GB”) of data

  will be exported for delivery to counsel. (See April 10, 2019 E-mail, attached as

  Exhibit 3).    This 48.5 GB of data includes approximately 121,264 e-mail

  communications and attachments. (See April 16, 2019 E-mail, attached as Exhibit

  4). While the search terms used by counsel to identify and segregate responsive

  materials should narrow the volume for review, given the extremely large initial

  data set, there will nonetheless remain a substantial privilege review project, which

  requires the use of multiple attorneys over approximately 11 weeks. (See Johnson

  Affidavit at ¶ 11, attached as Exhibit 5; see also Lumen Legal Statement of Work,

  attached as Exhibit 6). Accordingly, DDA requests a 90-day extension to comply

  with the Order.




                                             5
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        II.    This Court Should Order Williams To Pay DDA A Reasonable
               Share Of The Significant Expense Before DDA Is Required To
               Undertake Further Efforts To Comply With The Order

        It is well-established that cost-shifting, in the context of a subpoena, should

  occur when an order requiring compliance subjects a non-party to “significant

  expense.” Hennigan v. Gen. Elec. Co., 2012 WL 13005370, *2 (E.D. Mich., April

  2, 2012). Protection of a non-party from significant expense, however, does not

  necessarily mean the party issuing the subpoena must bear the entire cost of

  compliance. Id. Courts have instead considered three equitable factors when

  considering cost-shifting and non-parties: (1) whether the nonparty has an interest

  in the outcome of the case; (2) whether the nonparty can more readily bear its costs

  than the requesting party; and (3) whether the litigation is of public importance.

  Id. (citing DeGeer v. Gillis, 755 F. Supp. 2d 909, 928 (N.D. Ill. 2010)).

        These factors counsel in favor ordering Williams to pay DDA a reasonable

  share of the expense of production before DDA undertakes efforts to comply with

  Order. First, DDA has no interest in the outcome of this case. This is because the

  outcome of this case has no impact on DDA. DDA is not a party. The case

  Williams pursued against DDA was dismissed as a sanction because of “the

  repeated misrepresentations by [Andrew Paterson] and [Paterson’s and Williams’s]

  failures to comply with discovery orders – despite warnings and the imposition of




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  less severe sanctions.” (See Dismissal Order, attached as Exhibit 7).4 And, this

  Court has already prohibited Paterson and Williams from using or disclosing any

  documents provided by DDA pursuant to the Order for anything other than “this

  lawsuit.” (Exhibit 2).

        Second, while DDA acknowledges (upon information and belief) DDA can

  more readily bear the expense of production than Williams, the analysis does not

  simply end there.    The factor is part of an “equitable” cost-shifting analysis.

  Equity means fairness. Williams’s affirmative duty to take reasonable steps to

  avoid imposing an undue burden on DDA is not categorically eliminated merely

  because his financial means are comparably less. See Volunteer Energy Services,

  Inc. v. Option Energy, LLC, 2012 WL 13018688, *1 (W.D. Mich., February 23,

  2012). Given these competing factors, while it would not be appropriate to ask

  Williams to pay all of expense for production, it is certainly equitable for Williams

  to pay a reasonable portion (discussed below) of the expense of production,

  especially given Paterson’s and his clients’ (including Williams) extensive history

  of sanctionable conduct in this case and many others (discussed below).




   4
     At the conclusion of Williams’s case against DDA (other parties and claims
   remain), the dismissal order will become final and res judicata will attach. In
   other words, DDA is no longer at risk of being sued by Paterson, Williams, and
   their cohorts in connection with the allegations underlying this case and the one
   against DDA.
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        Finally, the litigation has no real public importance.          Williams will

  undoubtedly point to his self-serving conclusory allegations and suggest the case is

  about to “uncovering” some widespread “conspiracy” among public officials to

  “undermine the integrity” of a public bidding process (or the like). Yet, in over

  two years of litigation against DDA, DEGC, City of Detroit, Dennis Archer, Jr.

  and others – in multiple forums – Williams, Paterson, and their cohorts have not

  identified one piece of objective evidence supporting their central theme.5 In short,

  any purported “public importance” derived from the conclusory allegations in

  Williams’s complaint is belied by the absence of any evidence supporting those

  allegations.

        Given the above, DDA asks this Court to order Williams to pay a reasonable

  share of the expense of complying with the Order. The estimated expense of

  complying with the Order is as follows:




   5
     In this regard, DDA has attached DEGC’s and City of Detroit’s Motions for
   Summary Judgment in the case before Judge Michelson. As the motion reveals,
   there is no evidence of any conspiracy. (See Motions for Summary Judgment,
   attached as Exhibits 8 and 9).
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   Activity            Description                         Expense
   Data Extraction     Approximately 48.5 GB of data       $9,750.006
   from DDA            will be extracted from relevant
   System              email accounts
   Data Import to      All data extracted from relevant    $250 per GB of storage
   Counsel’s E-        email accounts will be uploaded     x 48.5 GB = 12,125.007
   Discovery           to counsel’s e-discovery
   Platform            platform (Nextpoint)
   Identify and        Counsel will create search terms    Approximately four
   Segregate           and use those search terms to       hours of attorney time x
   Responsive          identify and segregate              $185.00 per hour =
   Information         responsive information              $740.008
   Conduct             Counsel will review all             $103,558.009
   Privilege           responsive information to
   Review              identify privileged
                       communications, which will
                       involve the use of multiple
                       attorneys reviewing for
                       approximately 11 weeks.
   Create Privilege    Counsel will create a privilege     Six hours of attorney
   Log                 log, which will be provided to      time x $185.00 per hour
                       opposing counsel                    = $1,110.00 10
   Prepare for         Counsel will bates stamp the        Two hours of attorney
   Production and      nonprivileged responsive            time x $185.00 per hour
   Produce             materials, export the               = $370.0011
                       nonprivileged responsive
                       materials, and provide them to
                       opposing counsel
                       TOTAL COSTS:                        $127,653.00




   6
     See Exhibit 3; see also Data Extraction Services Quote, attached as Exhibit 10.
   7
     See Nextpoint Statement of Work, attached as Exhibit 11.
   8
     See Exhibit 5, at ¶ 10.
   9
     See Exhibit 6, at p 3.
   10
      See Exhibit 5, at ¶ 17.
   11
      See Exhibit 5, at ¶ 18.
                                           9
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        As indicated above, the total expense to DDA is expected to be

  approximately $127,653.00. This includes $21,875.00 in costs and approximately

  $105,778.00 in attorney’s fees.      While DDA recognizes nonparties are not

  typically allowed to shift the legal fees they incur when conducting privilege

  reviews (Hennigan, 2012 WL 13005370 at 2), this is not a usual request and not a

  typical litigant. First, the Subpoena was directed at (among others) general counsel

  for DDA and requests materials obviously relating to years of litigation with DDA

  in multiple forums. In other words, Williams must have known the information

  responsive to the requests would necessarily include substantial privileged

  materials, which require extensive review prior to production.       Second, those

  having served the Subpoena – Williams and Paterson – are not typical litigants.

  Indeed, Paterson and his clients (including Williams) have an extensive history of

  sanctionable conduct in this case and many others (discussed below). Given this,

  while DDA did not ask Williams to pay its entire expense, DDA did ask Williams

  to pay the $21,875.00 in costs and $26,444.50 (25%) of its attorney’s fees. This

  equals less than 40% of the aggregate expense DDA will incur.           (Id.).   But

  Williams has not agreed. (Id.). This Court should order him to do so.

        Finally, this Court should order Williams to pay his portion of the expense

  of production before DDA is obligated to undertake further efforts to comply with

  the Order. As the Sixth Circuit once noted regarding Andrew Paterson and another


                                           10
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  client (who is currently his “Law Clerk”), “we find it important to note that [Robert

  Davis] and his attorney, Andrew Paterson, have a prolific history litigating cases in

  Michigan state courts and federal courts. Their filings could be defined, in many

  instances, as repetitive, vexatious, and frivolous.” Davis v Johnson, 664 F App'x

  446, 450 (6th Cir. 2016). Indeed, Paterson and his clients have been sanctioned so

  many times it is hard to comprehend:

   Case Name            Description of Sanctions Event
   Davis v              Judge MacDonald found that the suit brought by
   Highland Park        Paterson, as counsel for the plaintiff, was frivolous and
   Board of             brought solely to harass the school district pursuant to
   Education            MCR 2.625(A)(2) and MCL 600.2591, and ordered
                        fees and costs of approximately $40,000.
   Citizens United      Judge Jamo issued an Order awarding defendants "their
   v NERD               costs, expenses, and reasonable attorney fees," against
                        Paterson, who represented the plaintiff. Paterson did
                        not pay.
   White v Detroit      Judge Fresard entered an Order Imposing Sanctions
   Election             against Paterson and one of the plaintiffs, Robert Davis,
   Commission           jointly and severally, in a total amount of $11,587.67.
   Davis v              Order reversing Judge MacDonald's denial of judgment
   Highland Park        against Paterson, and remanding for entry of a
   Board of             judgment against Paterson for fees and costs previously
   Education            awarded for filing a frivolous suit.
   Richards v           Court of Appeals affirmed the Wayne County Circuit
   Wayne County         Court's finding that Paterson filed a frivolous claim and
   Airport              awarding attorney fees and costs against Paterson for
   Authority            bringing a third case against the defendant arising out of
                        the same facts of two prior cases
   Davis v              Order finding Paterson's appeal was vexatious pursuant
   Highland Park        to MCR 7.216(C), and remanded for an evidentiary
   Board of             hearing on the actual damages, including, attorneys'
   Education            fees and costs.
   Davis v              Judge MacDonald entered a Judgment Against Paterson

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   Highland Park      Awarding Attorney Fees and Costs to Defendants for
   Board of           Frivolous Proceeding in the amount of $40,356.60.
   Education
   Citizens United    Judge Jamo issued an Opinion and Order establishing
   v NERD             the attorney fees owed by Paterson, which totaled
                      $45,338.63.
   Davis v Garrell    Judge Colombo, after a show cause hearing, dismissed
                      the complaint and expressly found that plaintiff’s
                      claims violated MCR 2.114, and provided time for a
                      motion for sanctions to be filed. Paterson represented
                      the plaintiff.

   Davis v            Paterson represented plaintiff. Judge Tarnow granted
   Johnson            defendant Judge Robert Colombo’s motion to dismiss,
                      quoting:
                                ‘A district court may, at any time, sua
                               sponte dismiss a complaint for lack of
                               subject matter jurisdiction pursuant to
                               Rule 12(b)(1)... when the allegations of a
                               complaint are totally implausible,
                               attenuated, unsubstantiated, frivolous,
                               devoid of merit, or no longer open to
                               discussion.' (citation omitted).
   Davis v            The Court issued an Opinion emphasizing that, "Plaintiff
   Johnson            Robert Davis and his attorney, Andrew Paterson
                      [Paterson], have a prolific history litigating cases in
                      Michigan state and federal courts. Their filings could be
                      defined, in many instances, as repetitive, vexatious, and
                      frivolous."
   Citizens United    Judge Jamo issued an "Order to Show Cause Why
   v NERD             Andrew Paterson Should Not Be Held in Civil
                      Contempt" for failing to pay the sanctions, after the
                      Court provided additional time to resolve the issue.
   Detroit            Judge Burton entered an order granting sanctions against
   Downtown           Paterson and his clients (including Williams), the
   Development        plaintiffs, jointly and severally.
   Authority v
   Lotus

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   Detroit            Judge Burton issued an Opinion denying Paterson’s
   Downtown           motion to disqualify Judge Burton finding, in part:
   Development
                                Quite simply, Attorney Paterson
   Authority v
                                    [Paterson] is forum shopping for a
   Lotus
                                    judge who will never disagree or
                                    rule against his client.
                                              *        *       *
                                ... defendants' motion to disqualify... is
                                      procedurally      defective    and
                                      substantively lacking in factual
                                      and legal support.
                      Judge Burton found that sanctions against
                      Paterson were warranted.
   Davis v Garrell    Judge Colombo entered a Stipulated Order requiring
                      Paterson to pay $100 monthly towards the prior
                      judgment amount to defendant's counsel to hold pending
                      plaintiffs appeal, and if the appeal was denied,
                      defendant's counsel was to disburse all funds to the City
                      of Detroit.
   Detroit            Judge Colombo issued an Order Granting Plaintiffs'
   Downtown           Motion for Sanctions assessing sanctions against
   Development        Paterson and his clients (including Williams), jointly
   Authority v        and severally and Mr. Davis, jointly and severally.
   Lotus
   Davis v Robert     Judge Goldsmith, after granting defendant Sue Hall
                      summary judgment, ordered the plaintiff, who was
                      represented by Paterson, to pay costs of $687.50 for
                      court reporter fees to defendant Hall by November 16,
                      2017
   Detroit            Judge Colombo, following his grant of the October 10,
   Downtown           2017 motion for award of attorney fees and costs against
   Development        Paterson and his clients and assessment of sanctions
   Authority v        against them, jointly and severally, entered Judgment
                      against Paterson and his clients (including Williams),
                      jointly and severally, in the total amount of $17,860.20.

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   Detroit            Order entered:
   Downtown                   [F]ind[ing] that Attorney Paterson
   Development                signed the motion for immediate
   Authority v                consideration without first making
   Lotus                      reasonable inquiry, and from that we
                              must conclude that the document was
                              filed for an improper purpose to harass or
                              to cause needless increase in the cost of
                              litigation. Consequently, on the Court's
                              own motion, Andrew Paterson [Paterson]
                              is directed to pay to this Court $500, as
                              an appropriate sanction, within 28 days
                              of this order." (Emphasis added).
   Davis v Detroit    Judge Goldsmith issued an Opinion and Order granting
   Downtown           in part (and denying in part) defendants' various
   Development        motions for sanctions against the plaintiffs (whom
   Authority,         Paterson represented) for bringing frivolous claims and
                      filing a motion to strike. Defendants were to file
                      affidavits setting forth the fees and costs incurred in
                      responding to the frivolous matters.
   Citizens United    Judge Jamo issued an Order Finding Andrew A.
   v NERD             Paterson, Jr., in Civil Contempt of Court, which set
                      forth the sanction history beginning with the Court's
                      December 13, 2013 Order for Paterson to pay attorney
                      fees, etc., and finding that based on Paterson's
                      admissions, Paterson had the means to tender some
                      amount of payment pursuant to the February 25, 2015
                      order, but failed to do so. The Court ordered Paterson
                      to comply with an installment payment plan, with
                      possible incarceration for failure to pay. Paterson was
                      ordered to submit to a deposition by May 30, 2018,
                      regarding his finances to establish the installment
                      payment plan.
   Citizens United    Paterson's deposition was taken pursuant to the April 2,
   v NERD             2018 order (above), after being duly noticed, but
                      Paterson did not produce the requested documents.
                      Notably, Paterson testified that there was only one
                      outstanding unpaid sanction award against him, which

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                      does not appear to be an accurate statement based on
                      this chronology.

   Detroit            Judge Burton entered an Amended Judgment against
   Downtown           Paterson and his clients (including Williams) after they
   Development        all failed to comply with his August 11, 2017 order
   Authority v        sanctioning them, for a total amount of $4,814.65.
   Lotus
   Detroit            Judge Colombo entered as Order Granting Sanctions
   Downtown           against Andrew Paterson in Favor of City of Detroit
   Development        Downtown Development Authority sanctioning Paterson
   Authority v        for failing to appear at the settlement conference and for
                      failing to timely file a response to a motion.
   Lotus
   Lotus v            Judge Michelson issued an Opinion and Order finding,
   Downtown           in part:
   Development
   Authority                     ... the repeated misrepresentations by
                                Plaintiff's counsel [Paterson] and the
                                Plaintiffs' [including Williams] failures
                                to comply with discovery orders -despite
                                warnings and imposition of less severe
                                sanctions- warrant the dismissal of
                                Plaintiff s claims against the DDA as a
                                discovery sanction.
                                           *         *          *
                                 Unfortunately, neither the Plaintiffs
                                [including Williams] nor Paterson
                                [Paterson] have been forthright with
                                the Court. Paterson [Paterson] offered
                                shifting and unpersuasive explanations
                                for his clients' failure to provide audit
                                records.... Worse still, [Paterson's]
                                response states, ‘...individual Plaintiffs
                                [including Williams] have paid the
                                sanctions judgment entered by the
                                Court in the amount of $3,957.'
                                (citation omitted). But, at the time the
                                DDA filed the motion…, Plaintiffs had

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                               not yet paid the sanctions. So, the
                               Plaintiffs [including Williams] are the
                               ones making misleading and false
                               statements.
                                             *       *           *
                                All told, in two years, Plaintiffs
                               [including Williams] and their
                               counsel [Paterson] have violated three
                               of the Court's discovery orders, ignored
                               the Federal Rules of Civil Procedure,
                               and have been less than honest in their
                               representations to the Court. Their
                               behavior goes beyond mere violation
                               of the local rules or dilatory tactics.
                               (Emphasis added).

                      Judge Michelson dismissed plaintiffs' claims against the
                      DDA.
   Davis v Detroit    Judge Goldsmith, pursuant to his January 26, 2018
   Downtown           Opinion (above), issued an Opinion and Order
   Development        Imposing Sanctions in the amount of $13,506 against
   Authority
                      Paterson, only, stating:

                              [T]he Court finds that this amount of
                              sanctions is sufficient to punish and deter
                              Plaintiff's counsel [Paterson] from further
                              frivolous filings. It represents the amount
                              of work put in by eight attorneys across
                              two firms, solely to respond to claims and
                              filings that Plaintiff’s counsel [Paterson]
                              should have known were frivolous.
                              Plaintiff's counsel [Paterson] should
                              consider this figure before attempting to
                              file any future frivolous claims.
                        Paterson’s payment was due November 27, 2018.
   Lotus v Dennis       Mag. Judge Patti         issued an Order quashing
                                        16
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   Archer               Paterson's subpoenas and finding that defendant had
                        established prejudice based on plaintiffs "frequent
                        and repeated discovery abuses." Paterson represented
                        the plaintiff.
   Carmack v City       Judge Goldsmith made the following comments
   of Detroit           regarding Paterson, who represents the plaintiff,
                        during oral argument on defendants' motions to
                        dismiss:

                               ...I have very serious concerns about how
                               this case has been prosecuted. I don't
                               mean to be personally critical but I have
                               concerns about the withholding of
                               concurrence. I have concerns about how
                               the state court discovery machinery was
                               used in - with the background of my
                               written order. I have concerns about
                               attempts to influence a party to this case
                               through potentially improper means. I
                               have concerns about whether, at the time
                               the complaint was filed, there was
                               sufficient investigation done to confirm
                               the factual allegations and legal claims
                               had a reasonable basis.
   Davis v Detroit      Judge Goldsmith issued an order to show cause why
   Downtown             Paterson should not be held in contempt of court for
   Development          failing to pay the $13,506 sanction awarded against
   Authority            him on November 6, 2018.
   Davis v City of      Judge Ewell issued an Opinion dismissing the
   Detroit              Amended Complaint filed by Paterson and ordered
                        sanctions against Plaintiff for conduct engaged in by
                        Paterson, including filing the Complaint and Amended
                        Complaint, which were frivolous and intended to
                        harass the City of Detroit. Paterson was actively
                        involved in the conduct underlying the Amended
                        Complaint, as fully set forth in the Opinion.
   City of Detroit      Judge Donald Coleman entered a Stipulated Order
   v Carmack's          Denying Defendant's Emergency Motion to Compel

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   Collision             Depositions, Granting Plaintiff's Motions for
                         Sanctions and Setting Hearing Date. Paterson is co-
                         counsel for the defendant. Defendant was ordered to
                         pay $1,500 for discovery abuses. The transcript (not
                         yet available) will show that the discovery abuses
                         included the issuance of unauthorized subpoenas to
                         various City of Detroit former and/or current personnel
                         and that Paterson admitted he was responsible for
                         them.

        Significantly, nearly all (if not all) of the above sanctions awards remain

  unpaid. In fact, just last week, Judge Goldsmith entered a revealing order after

  Paterson failed to pay a $13,506.00 sanctions order to DDA, which was imposed

  on Paterson nearly six months ago:




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  (See 4/12/19, Order, attached as Exhibit 12).
        Given this, it is entirely reasonable for the Court to order Williams and

  Paterson to pay DDA their share of the expense of production before DDA is

  obligated to undertake further efforts to comply with the Order. Otherwise, DDA

  will inevitably be placed in the unenviable position of – again – becoming an

  unpaid creditor of Paterson and his clients’ contumacious disregard for court orders

  directing them to pay money.       But this time as a nonparty forced to incur

  $127,653.00 in expenses to comply with an Order, which Paterson and Williams

  will certainly disregard.   Accordingly, this Court should order Williams and

  Paterson to pay DDA their share of the expense of production before DDA is

  obligated to undertake further efforts to comply with the order.




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        WHEREFORE, Respondent City of Detroit Downtown Development

   Authority, respectfully requests that, this Court grant its Motion for a Protective

   Order in Connection with the Court’s [119] Order Granting in Part and Denying

   in Part Christopher William’s Motion to Compel.


                                                Respectfully submitted,

                                                KOTZ SANGSTER WYSOCKI P.C.

   Dated: April 19, 2019                By:     /s/ Jeffrey M. Sangster

                                                Jeffrey M. Sangster (P30791)
                                                Anthony M. Sciara (P75778)
                                                Counsel for Respondent DDA




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  LOTUS INDUSTRIES, LLC D/B/A
  CENTRE PARK BAR; CHRISTOPHER
  WILLIAMS; ROBERT DAVIS; and
  A FELON’S CRUSADE FOR
  EQUALITY, HONESTY, AND
  TRUTH,

        Plaintiffs,                           Case No. 2:17-cv-13482
                                              Hon. Sean F. Cox
   v.                                         Mag. Anthony P. Patti

  CITY OF DETROIT; DENNIS
  ARCHER JR.; IGNITION MEDIA;
  TOTAL OUTDOOR; and RUTH
  JOHNSON,

        Defendants.

  and

  CITY OF DETROIT DOWNTOWN
  DEVELOPMENT AUTHORITY,

        Respondent.


     PATERSON LAW FIRM                    KOTZ SANGSTER WYSOCKI P.C.
     By: Andrew A. Paterson (P18690)      By: Jeffrey M. Sangster (P30791)
     Counsel for Plaintiffs                   Anthony M. Sciara (P75778)
     2893 East Eisenhower Parkway         Counsel for Respondent DDA
     Ann Arbor, Michigan 48108            400 Renaissance Center
     (248) 568-9712                       Suite 3400
     aap43@outlook.com                    Detroit, Michigan 48243
                                          313-259-8300
                                          jsangster@kotzsangster.com
                                          asciara@kotzsangster.com
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2902 Filed 04/19/19 Page 31 of 157




     HONIGMAN LLP                             CITY OF DETROIT LAW
     By: Raymond W. Henney (P35860)           DEPARTMENT
         Derek R. Mullins (P81422)            By: James D. Noseda (P52563)
     Counsel for Dennis Archer, Jr. and       Counsel for City of Detroit
     Ignition Media                           2 Woodward Avenue, 5th Floor
     600 Woodward Avenue                      Detroit, Michigan 48226
     Suite 2290                               (313) 224-4550
     Detroit, Michigan 48226                  nosej@detroitmi.gov
     313-465-7312
     rhenney@honigman.com
     dmullins@honigman.com


                            CERTIFICATE OF SERVICE

        I hereby certify that, to the best of my information, knowledge, and belief,
   and on the 19th day of April, 2019, I electronically filed the foregoing pleadings
   with the Clerk of the Court using the ECF system, which will send notification
   of, and serve, such filing to all counsel of record.


                                               /s/ Lindsey Pfund
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            EXHIBIT 1
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2904 Filed 04/19/19 Page 33 of 157
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Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2906 Filed 04/19/19 Page 35 of 157
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2907 Filed 04/19/19 Page 36 of 157
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2908 Filed 04/19/19 Page 37 of 157




            EXHIBIT 2
Case
 Case2:17-cv-13482-SFC-APP
      2:17-cv-13482-SFC-APP ECF
                             ECFNo.
                                 No.124,
                                     119PageID.2909
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

   LOTUS INDUSTRIES, LLC,
   et al.,
                                               Case No. 2:17-cv-13482
               Plaintiffs,                     District Judge Sean F. Cox
                                               Magistrate Judge Anthony P. Patti
   v.

   DENNIS ARCHER, Jr., et al.

             Defendants.
  _________________________/

    ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF
     CHRISTOPHER WILLIAMS’ MOTION TO COMPEL NONPARTY
   DETROIT DOWNTOWN DEVELOPMENT AUTHORITY TO PRODUCE
     DOCUMENTS REQUESTED IN SEPTEMBER 13, 2018 SUBPOENA
             PURSUANT TO FED. R. CIV. P. 37 (DE 111)

        This matter is before the Court for consideration of Plaintiff Christopher

  Williams’ motion to compel nonparty Detroit Downtown Development Authority

  to produce documents requested in September 13, 2018 subpoena pursuant to Fed.

  R. Civ. P. 37 (DE 111), City of Detroit Downtown Development Authority’s

  (DDA) response (DE 114), and Plaintiff Williams’ statement of resolved and

  unresolved issues (DE 116). All discovery matters have been referred to me for

  hearing and determination (DE 102), and a hearing was held on March 26, 2019, at
Case
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      2:17-cv-13482-SFC-APP ECF
                             ECFNo.
                                 No.124,
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  which counsel appeared and the Court entertained oral argument regarding

  Plaintiff’s motion.

        Upon consideration of the motion papers, and for all the reasons stated by

  the Court on the record, which are hereby incorporated by reference as though

  fully restated herein, Plaintiff’s motion to compel the DDA to produce documents

  responsive to the subpoena (DE 111) is GRANTED IN PART AND DENIED IN

  PART as follows:

        1. Nonparty DDA’s general objections are considered waived and
           accordingly will not be considered by the Court. See Wesley Corp. v.
           Zoom T.V. Products, LLC, No. 17-10021, 2018 WL 372700, at *4 (E.D.
           Mich. Jan. 11, 2018) (Cleland, J.); Siser N. Am., Inc. v. Herika G. Inc.,
           325 F.R.D. 200, 209-10 (E.D. Mich. 2018) (“Boilerplate objections are
           legally meaningless and amount to a waiver of an objection.”) (Davis,
           M.J.).

        2. Plaintiff’s motion to compel as to Request Nos. 1-3 and 7-13 is
           DENIED for the reasons stated on the record, including that the
           documents sought are not relevant to the sole remaining claim in this case
           that Defendant Archer, Jr. retaliated against Plaintiff after Plaintiff and
           Lotus Industries “expressed their concerns” in a November 19, 2016
           Detroit Free Press article “with respect to the tainted bidding process that
           led to [DDA] awarding … Archer the right to own and develop Centre
           Park Bar.” (DE 1 ¶ 38.) Request Nos. 1-3 and 7-12 seek documents
           relating to events that occurred long before Plaintiff’s alleged protected
           activity on November 19, 2016—as admitted by Plaintiff’s counsel at the
           hearing—and Plaintiff has not otherwise shown how the requested
           discovery “has any tendency to make a fact more or less probable than it
           would be without the evidence.” Fed. R. Evid. 401(a). The Court also
           finds that these requests are too broad in scope and that it would be
           unduly burdensome to comply with them, especially for a nonparty.
           Moreover, Plaintiff’s counsel admitted on the record that he is “not sure
           how [Request No. 12] fits” within the context of the remaining claim.

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Case
 Case2:17-cv-13482-SFC-APP
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        3. Plaintiff’s motion to compel as to Request Nos. 4-6 is DENIED to the
           extent these requests seek documents prior to November 19, 2016,
           because such documents are not relevant. However, Plaintiff’s motion is
           GRANTED to the extent Request Nos. 4-6 seek documents dated
           November 19, 2016 to the present. Responsive documents must be
           produced by April 26, 2019. If DDA withholds any documents from
           production on the basis of privilege, it must produce a privilege log as
           required by Fed. R. Civ. P. 45(e)(2)(A).

        4. Nonparty DDA stated in its objections to the subpoena and in its response
           brief before the Court that the instant subpoena is “nothing more than a
           transparent attempt to circumvent Judge Michelson’s discovery closure
           order” in Lotus Industries, LLC, et al. v. Michael Duggan, et al., No. 16-
           cv-14112, and to seek discovery in this case that it can use in the case
           before Judge Michelson—in effect an end-run around Judge Michelson’s
           order. (DE 114 at 16.) When given an opportunity to address this
           argument at the hearing, Plaintiff’s counsel not only failed to dispute this
           contention but in fact confirmed his intent to do just that. Consistent with
           the protective order previously entered by this Court (DE 88 at 3), the use
           and disclosure of discovery materials, specifically including the
           documents produced pursuant to this Order, is limited to this lawsuit
           only.

         Finally, I decline to award fees or costs to either side. Pursuant to Federal

  Rule of Civil Procedure 45(d)(1), the Court has discretion to impose “an

  appropriate sanction” on a party or attorney who fails to comply with their duty to

  “take reasonable steps to avoid imposing undue burden or expense on a person

  subject to the subpoena.” Fed. R. Civ. P. 45(d)(1). Here, both sides’ positions

  were substantially justified and required rulings from the Court. In addition,

  neither party fully prevailed. As such, an award of costs in this matter would

  neither be appropriate, nor just.
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Case
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                             ECFNo.
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        IT IS SO ORDERED.

  Dated: March 27, 2019                  s/Anthony P. Patti
                                         Anthony P. Patti
                                         UNITED STATES MAGISTRATE JUDGE


                                Certificate of Service

  I hereby certify that a copy of the foregoing document was sent to parties of record
  on March 27, 2019, electronically and/or by U.S. Mail.

                                         s/Michael Williams
                                         Case Manager for the
                                         Honorable Anthony P. Patti




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            EXHIBIT 3
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2914 Filed 04/19/19 Page 43 of 157
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            EXHIBIT 4
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2916 Filed 04/19/19 Page 45 of 157
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            EXHIBIT 5
Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2918 Filed 04/19/19 Page 47 of 157




                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF MICHIGAN
                                                                                                          SOUTHERN DIVISION

                                                                                 LOTUS INDUSTRIES, LLC D/B/A
                                                                                 CENTRE PARK BAR; CHRISTOPHER
                                                                                 WILLIAMS; ROBERT DAVIS; and
                                                                                 A FELON’S CRUSADE FOR
                                                                                 EQUALITY, HONESTY, AND
                                                                                 TRUTH,

                                                                                       Plaintiffs,                         Case No. 2:17-cv-13482
                                                                                                                           Hon. Sean F. Cox
 K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                 v.                                        Mag. Anthony P. Patti

                                                                                 CITY OF DETROIT; DENNIS
                                                                                 ARCHER JR.; IGNITION MEDIA;                  AFFIDAVIT OF
                                                                                 TOTAL OUTDOOR; and RUTH                    MARK F.C. JOHNSON
                                                                                 JOHNSON,

                                                                                       Defendants.

                                                                                 and

                                                                                 CITY OF DETROIT DOWNTOWN
                                                                                 DEVELOPMENT AUTHORITY,

                                                                                       Respondent.


                                                                                    PATERSON LAW FIRM                  KOTZ SANGSTER WYSOCKI P.C.
                                                                                    By: Andrew A. Paterson             By: Jeffrey M. Sangster (P30791)
                                                                                    (P18690)                               Anthony M. Sciara (P75778)
                                                                                    Counsel for Plaintiffs             Counsel for Respondent DDA
                                                                                    2893 East Eisenhower Parkway       400 Renaissance Center
                                                                                    Ann Arbor, Michigan 48108          Suite 3400
                                                                                    (248) 568-9712                     Detroit, Michigan 48243
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                                                                                                                       jsangster@kotzsangster.com
                                                                                                                         asciara@kotzsangster.com


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Case 2:17-cv-13482-SFC-APP ECF No. 124, PageID.2919 Filed 04/19/19 Page 48 of 157




                                                                                                                     CITY OF DETROIT LAW
                                                                                  HONIGMAN LLP                       DEPARTMENT
                                                                                  By: Raymond W. Henney (P35860)     By: James D. Noseda (P52563)
                                                                                      Derek R. Mullins (P81422)      Counsel for City of Detroit
                                                                                  Counsel for Dennis Archer, Jr. and 2 Woodward Avenue, 5th Floor
                                                                                  Ignition Media                     Detroit, Michigan 48226
                                                                                  600 Woodward Avenue                (313) 224-4550
                                                                                  Suite 2290                         nosej@detroitmi.gov
                                                                                  Detroit, Michigan 48226
                                                                                  313-465-7312
                                                                                  rhenney@honigman.com
                                                                                  dmullins@honigman.com
 K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                                    AFFIDAVIT OF MARK F.C. JOHNSON

                                                                                               I, Mark F.C. Johnson, being duly sworn, depose and state as

                                                                                  follows:

                                                                                         1.    I am an attorney at law, licensed to practice in the State of

                                                                                  Michigan, and employed by the firm Kotz Sangster Wysocki P.C.

                                                                                          2.   I am in good standing and of sound mind to testify competently as

                                                                                 to the matters below.

                                                                                          3.   I base this affidavit on personal knowledge and can testify to the

                                                                                 matters contained in this Affidavit if I am called to do so.

                                                                                          4.   I have been licensed to practice law in the State of Michigan since

                                                                                 2016.

                                                                                         5.    My hourly billable rate is $185.00 for legal services rendered.




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                                                                                        6.   In connection with a non-party subpoena issued in the above-

                                                                                 captioned case, the law firm of Kotz Sangster Wysocki P.C. was retained to

                                                                                 provide legal services on behalf of City of Detroit Downtown Development

                                                                                 Authority (“DDA”).

                                                                                      7.     Over the past few years, I have managed several document reviews

                                                                                  like the one DDA will need to perform to properly respond to the non-party
 K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                  subpoena issued to DDA by Christopher Williams.

                                                                                      8.     Presently,   there   are   approximately   48.5   GB   of   e-mail

                                                                                  communications and attachments that must be reviewed, which consists of

                                                                                  approximately 121,264 e-mail communications and attachments.

                                                                                      9.     Applying “search terms” should help us eliminate roughly 50% of

                                                                                  the original data set, decreasing the number of e-mails and attachments that

                                                                                  must be reviewed to approximately 60,500.

                                                                                      10.    Developing the search terms necessary to identify and segregate

                                                                                  responsive information, and running those search terms against the entire 48.5

                                                                                  GB data set will take approximately four (4) hours of my time.

                                                                                      11.    Even if applying “search terms” helped DDA eliminate 50% of the

                                                                                  original 48.5 GB of data (thereby decreasing the number of e-mails and

                                                                                  attachments that must be reviewed to approximately 60,500), understanding

                                                                                  that an attorney can review, on average, 35-documents-per-hour in a privilege


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                                                                                 review of this nature, completing this review will still require a team of

                                                                                 multiple attorneys to expend a great deal of time.

                                                                                      12.   I have worked with Lumen Legal on numerous document-review

                                                                                 projects over the past three years.

                                                                                      13.   Lumen Legal is a reputable, third-party vendor that routinely

                                                                                 handles document-review projects like the one necessitated by the non-party
 K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                 subpoena issued to DDA by Christopher Williams.

                                                                                      14.   Based on diligent vetting I have conducted, I have found the fees

                                                                                 and costs charged by Lumen Legal are reasonable and very competitive.

                                                                                      15.   Based on a Statement of Work provided by Lumen Legal, it would

                                                                                 take a team of multiple attorneys approximately 11 weeks (54 business

                                                                                 days/78 calendar days) to finish reviewing 60,500 documents.

                                                                                      16.   According to the Statement of Work provided by Lumen Legal,

                                                                                 that work would cost approximately $103,558.00.

                                                                                      17.   After the team of multiple attorneys finishes reviewing and coding

                                                                                 the documents, it would take me approximately six (6) hours to develop the

                                                                                 privilege log itemizing the e-mails and/or attachments withheld as privileged

                                                                                 under the attorney-client privilege or work-product doctrine.

                                                                                      18.   Finally, it would take me approximately two (2) hours to Bates

                                                                                 stamp the responsive, non-privileged e-mails and attachments, export those


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                                                                                 materials, and produce them to opposing counsel using Nextpoint (an e-

                                                                                 Discovery hosting site utilized by our firm).

                                                                                     Further Affiant sayeth not.

                                                                                                                      /s/ Mark F.C. Johnson
                                                                                                                      Mark F.C. Johnson (P80539)

                                                                                                                      In accordance with 28 U.S.C. § 1746, I
                                                                                                                      declare, certify, verify, and state, under
                                                                                                                      penalty of perjury, that the foregoing is
 K O T Z S A N G S T E R W Y S O C K I P . C . ATTORNEYS AND COUNSELORS AT LAW




                                                                                                                      true and correct.

                                                                                                                      Executed on this 18th day of April, 2019.




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            EXHIBIT 6
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                                       STATEMENT OF WORK

                                     Document Review Services

     THIS STATEMENT OF WORK is effective as of April 18, 2019 (“Effective Date”) and is
     subject to the terms and conditions of the Client Services Agreement between the parties
     dated December 7, 2018 (the “Agreement). Any changes to the Agreement must be in
     writing and agreed upon by both parties.

         1. Primary Client Contact

                   •   Mark Johnson
                       Kotz Sangster Wysocki, PC
                       Attorney
                       mjohnson@kotzsangster.com
                       313.259.8583

         2. Lumen Legal Account Service Team

                   •   David Galbenski
                       EVP of Strategic Initiatives
                       dgalbenski@lumenlegal.com
                       248.872.5533 (Mobile)

                   •   Jordan McCarter
                       e-Discovery and Commercial Contracts Manager
                       jmccarter@lumenlegal.com
                       248.574.5802 (Direct Dial)

                   •   Scott Hund
                       eDiscovery Project Manager
                       shund@lumenlegal.com
                       248.565.3493 (Direct Dial)

         3. Description of Services

             Lumen Legal will provide Document Review Services as directed by Kotz
             Sangster Wysocki, PC.

             In the case of this engagement, Document Review Services include: First Level
             Review Attorneys, Team Lead/QC Attorney(s), eDiscovery Project Manager,
             Facility, Computers and Printing of materials, as needed.




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             Project Details

                   •   Project Name: City of Detroit Downtown Development Authority (“DDA”)
                   •   Project Location: Lumen Review Center, Troy, Michigan
                   •   Total Universe of Documents: Approximately 60,500 documents
                   •   Deadline for Project Completion: Approximately 54 business working
                       days (78 calendar days) from start of project
                   •   Types of Documents: E-mail, Word, PowerPoint, Excel, etc.
                   •   Type of Review: Privilege & Privilege Log
                   •   Work Week: Anticipated 40 hours per week, Monday – Friday with no
                       weekend work.
                   •   Language: English
                   •   Issues to Code: 1 – 5 issues
                   •   Review Platform: Nextpoint
                   •   Team Size: 1 Project Manager, 1 Team Lead Attorney and 4 First Level
                       Attorneys.
                   •   Conflicts Questions: To be provided and approved by client
                   •   Technology Contact: TBD
                   •   Accounting Contact: Ashley Clark, 313.259.2352,
                       aclark@kotzsangster.com
                   •   Time Approver: Lumen Project Manager

         4. Project Schedule & Quality Control (QC) Standard

             Estimated Start Date: May 20, 2019

             Estimated End Date: August 6, 2019

             Lumen Legal Project Management, in its sole discretion and expertise, will
             determine the appropriate QC strategy and level for each project. In making its
             determination, the Lumen Project Manager will take into account the details of
             each project. If the client requests QC strategies or levels over and above what
             is provide by Lumen under its standard services, additional fees may apply.

             Additionally, should a material change in the project scope take place which
             impacts the current QC strategy, the Lumen Legal Project Manager will contact
             the client as soon as possible to advise as to the impact on the project strategy
             and deliverables.

         5. Cancellation Notification Requirements & Lumen Standard Practices

             In the event a scheduled work day must be canceled, the Lumen Legal primary
             contacts listed above must be notified by 5:00 p.m. ET on the day prior to the
             canceled work day to ensure that we can provide proper notice to our review
             team. If Lumen Legal is not provided with notice by 5:00 p.m. ET on the day
             prior to the canceled work day, all team members will be paid and our client billed
             for a minimum of two (2) hours time on the canceled work day.



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             Once a regularly scheduled work day has commenced, if any issue arises that
             prevents the team from working on the project, Lumen Legal will promptly notify
             the primary client contact listed above in order to seek timely resolution of the
             issue.

             After the issue is reported, the Lumen team will remain engaged and ready to
             work during the downtime. All Lumen personnel will be paid and the client will be
             billed for all hours of downtime.

             Lumen Legal will use its best efforts to keep the team in tact during unexpected
             downtime, however, extended downtime may lead to loss of experienced team
             members.

         5. Rates and Fees

                   •   First Level Review Attorney                                 $45.50/hr.
                   •   Team Lead/QC Attorney                                       $45.50/hr.
                   •   eDiscovery Project Manager                                  $45.50/hr.
                   •   Facility Fee                                                Waived
                   •   Computer Fee                                                Waived
                   •   Copy Services (B&W)                                         $0.30/page
                   •   Extended Hours Multiplier (Weekend/Evening Work)            1.25

             Project Estimate Based Upon Assumptions and Rates Above:

                       Category           Number      Hourly      Estimated          Review
                                                      Rate*        Hours**          Estimate

               First Level Attorney           4       $45.50         1728            $78,624
               Team Lead Attorney             1       $45.50          432            $19,656
                Project Manager               1       $45.50          116            $5,278

             Total Review Estimate                                                  $103,558

             * First level review attorney is billed at same rate due to all work being
             considered privilege review and creation of privilege log.

             ** Based upon 35 documents reviewed per hour and a project length of 54
             business working days (not calendar days).

             Note:

                   •   Lumen follows state wage and hour laws in the state in which the work
                       will be performed.

                   •   Any material changes in the scope of services detailed above could result
                       in a change in rate(s) or fees.

                   •   Training materials can be printed or copied by Lumen Legal and
                       organized in a binder for each team member. Please provide all

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                       materials to the Lumen Legal contacts listed above twenty-four (24) hours
                       prior to the project start to ensure adequate preparation time.

                          o   Standard rates for 8” x 11” copies: $0.30 per page for black &
                              white (B&W) and $0.70 per page for color copies.

                   •   The Lumen Review Center standard hours are Monday – Friday, 7:30
                       a.m. – 6:00 p.m. ET.

                   •   Extended Hours: Upon request, additional hours beyond standard hours
                       during the week, as well as weekend hours can be incorporated into the
                       project scope in order to meet client deadlines.

                   •   Should standard redaction work or privilege logging be requested, all
                       work will be performed at the Team Lead/QC Attorney hourly rate.


     IN WITNESS WHEREOF, the parties hereto acknowledge and agree that this Statement
     of Work shall not be effective or binding unless and until it has been accepted and
     signed by both parties.



     Lumen Legal                                    Kotz Sangster Wysocki, PC


     By:                                            By:

     Name:                           .              Name:

     Title:                          ______         Title:

     Date:                                          Date:




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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

   GWENDOLYN WILLIAMS,
   CHRISTOPHER WILLIANS,
   KENNETH SCOTT BRIDGEWATER,                        Case No. 16-14112
   et al.,                                           Honorable Laurie J. Michelson
                                                     Magistrate Judge Anthony P. Patti
           Plaintiffs,

   v.

   CITY OF DETROIT DOWNTOWN
   DEVELOPMENT AUTHORITY,
   et al.,

           Defendants.


         OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
                 DEFENDANT DDA’S MOTION TO DISMISS [189]


          Pursuant to a lease agreement with Defendant Detroit Development Authority (“DDA”),

  Plaintiffs operated the Centre Park Restaurant and Bar in an area of downtown Detroit that is being

  redeveloped. The bar owners wanted to participate in the redevelopment project. But their bid was

  rejected. They subsequently, and publicly, complained about the bid process. According to the bar

  owners, this led the City of Detroit to temporarily close the bar and the DDA to prematurely

  terminate their lease. So the bar owners, through their counsel Andrew Paterson, sued a host of

  City officials and City entities.

          The litigation has been contentious. There have been repeated discovery abuses, including

  failures to produce requested information. This has resulted in many discovery disputes—ones that

  have come at significant cost to the DDA. So the DDA now moves to dismiss the bar owners’ case

  as a discovery sanction, hold the bar owners in contempt, and urges the Court to conditionally

  incarcerate them.
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          While the conduct on both sides has been less than exemplary, the repeated

  misrepresentations by Plaintiffs’ counsel and the Plaintiffs’ failures to comply with discovery

  orders—despite warnings and the imposition of less severe sanctions—warrant the dismissal of

  Plaintiffs’ claims against the DDA as a discovery sanction. But the Court rejects the DDA’s

  invitation to hold the bar owners in contempt and incarcerate them. So for the reasons that follow,

  the Court GRANTS in part and DENIES in part the DDA’s motion.

                                                   I.



          The lawsuit between the parties involves the DDA’s plan to redevelop the Harmonie Park

  area in downtown Detroit. (R. 189, PageID.4250–4253.) The DDA requested development

  proposals. (Id. at PageID.4254–4264.) The Plaintiff owners wanted to participate in the

  redevelopment project and thereby stave off the relocation or closure of their bar. (Id. at

  PageID.4250–4251.) But they submitted their proposal 15 minutes late, and the DDA eventually

  rejected it as untimely (or, that is the DDA’s position anyway). (Id. at PageID.4167.)

          Upset by the rejection, the bar owners initially tried to work something out with

  redevelopment officials and staff from the Mayor’s Office. They exchanged emails and attended

  meetings with City and redevelopment officials, but to no avail. (R. 189, PageID.4169–4187.) The

  bar owners then publicly complained about the fairness of the bidding process. (R. 1, PageID.10.)

  They believed that the DDA predetermined which proposals would be accepted and which would

  be rejected. (Id.)

          According to Plaintiffs, their complaints resulted in retaliation by the City. They claim

  Detroit police officers started to show up, ticket the bar for noise ordinance violations, and order

  patrons to leave. (R. 1, PageID.10–11.) And at some point, Detroit police even shut down the bar



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  completely. (Id. at PageID.11.) Soon after, DDA officials told the bar owners they planned to

  terminate the bar’s lease early. (Id.)

          So the bar owners filed this lawsuit against the DDA, Mayor Duggan, and others, alleging

  several claims, including a Section 1983 claim of retaliation in violation of the bar owners’ First

  Amendment rights. (R. 1, PageID.13.) Certain defendants were voluntarily dismissed, others

  answered, and the case moved to discovery. (R. 11, 12, 14, 22.)



          The discovery disputes had already started by the time of the initial Rule 16 scheduling

  conference. (R. 29.)

          To understand the first dispute requires some background. In response to Plaintiffs’

  complaint, the DDA, as lessor of the space where Centre Park Bar was located, filed a counterclaim

  alleging numerous breaches of the lease by Plaintiffs.1 (R. 16, PageID.227.) The DDA also

  initiated an audit of the bar’s sales. (R. 39, PageID.544.) Specifically, the DDA wanted to know

  what percentage of the bar’s total sales were liquor sales. (R. 44, PageID.634.) If the bar’s sales

  were more than 40% liquor, the bar would be in breach of its lease agreement. (Id.) To make that

  determination, the DDA asked the bar owners to provide records showing total sales, liquor sales,

  and food sales. (Id.) But initially, the bar owners only provided a snapshot of sales. (R. 39,

  PageID.563, 565, 567, 570, 575, 581, 583, 585, 588, 590, 592.) By the time of the scheduling

  conference, the bar owners had still not provided a complete picture. (R. 44, PageID.639–640.) So




          1
            As the parties were also engaged in related state court litigation involving lease issues,
  the court ultimately declined to exercise supplemental jurisdiction over the counterclaim. But it
  was part of the case for awhile and issues involving termination of the lease are also part of
  Plaintiffs’ first amendment retaliation claim.
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  at the scheduling conference, the Court directed the owners (through counsel) to disclose all sales

  receipts as part of their initial disclosures. (Id.)

          The DDA also served a request for the audit documents pursuant to Federal Rule of Civil

  Procedure 34. (R. 44, PageID.4324–4329.) Plaintiffs did not produce the audit records. So the

  DDA filed its first motion for an order to show cause. (R. 39.) And the Court held a hearing. (R. 41,

  44.)

          At the hearing, Paterson offered shifting explanations for the bar owners’ lack of disclosure

  and failure to abide by Rule 34. Bottom line—Plaintiffs’ counsel indicated the digital records were

  unavailable and possibly destroyed. (R. 44, PageID.649.) Nevertheless, he said the bar owners

  were working to assemble the documents. They had a “forensic computer investigator” and an

  “accountant” trying to unearth the digital records. (Id. at PageID.642, 645.) In response to

  questioning from the Court, Paterson acknowledged that paper records of the bar’s sales were

  likely retrievable from the Michigan Liquor Control Commission. (Id. at PageID.641–642, 652,

  663.) But he could not fully explain why the bar owners did not provide more complete receipts

  to the DDA. (Id. at PageID.649–650.)

          As a result, in June 2017, the Court ordered Paterson to consult with his clients to “produce

  all requested audit documents” within 30 days, “request the relevant audit documents” from the

  Liquor Control Commission within 7 days, allow the DDA to depose the bar’s general manager,

  accountant, and forensic computer analyst, and within 30 days pay the DDA’s attorney fees for

  bringing the motion.2 (R. 43, PageID.629–630.)




          2
           Some weeks later, in a telephonic status conference held off the record, Paterson said
  there never was any accountant.
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         A few months later, another discovery dispute arose. (R. 58.) In May 2017, the DDA served

  on the bar owners a set of interrogatories and requests for production. (R. 189, PageID.4069.)

  Roughly a month later, the DDA served a second set. (Id. at PageID.4070.) Largely, the discovery

  requests sought business records from the bar and any documents upon which the bar owners based

  their legal claims against the DDA and others. But the bar owners failed to formally respond to

  either set of requests. (Id. at PageID.4102.) So the DDA moved to compel, and the Court held a

  hearing. (R. 61.)

         On the day of the September 2017 hearing, the bar owners finally sent the DDA

  documents—12 in total. (R. 189, PageID.4099.) According to the DDA, the documents were

  mostly emails from the bar owners to DDA staff members, so they were already in the DDA’s

  possession. (Id. at PageID.4099.) Paterson again acknowledged that he failed to follow Rule 34.

  (Id. at PageID.4102.) He also indicated that the 12 documents made up the entirety of the

  documentary record the bar owners had in their possession, custody, or control. (Id. at

  PageID.4103–4105.) But Paterson did say he was surprised to learn his clients kept so little in the

  way of business records and had so few documents to support a 10-count lawsuit alleging a

  conspiratorial plot to retaliate against the bar owners. (Id.) So the Court allowed Paterson seven

  additional days to consult with his clients and ensure that he had turned over all documents. (Id. at

  PageID.4105.)

         At the hearing’s conclusion, the Court issued several warnings to Plaintiffs. (R. 65.) First,

  the Court told Paterson that if Plaintiffs truly did not have any other documents responsive to the

  DDA’s discovery requests, then they would be limited at summary judgment and trial to the 12

  documents already produced, plus whatever the Defendants produced. (R. 189, PageID.4105; R.

  65, PageID.1920–1921.) And the Court made plain:



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         [I]f, during the course of this litigation, it is discovered or learned that you did have
         other documents within your possession, custody, and control that were not
         produced, I will consider sanctions -- I will impose monetary sanctions and I’ll let
         the defendants brief the issue of why I shouldn’t dismiss your case for a discovery
         sanction.

         So, I’m going to put you on notice that that is a likely and possible sanction. It’s
         now been plenty of time. I’ve given you more than enough time to locate all of the
         documents they’ve asked for. And now you can tell your client you’ve got seven
         more days to make sure. And that’s what you’re limited to in this case. And if it
         turns out there are more, they’re at risk that this case will be dismissed.

  (R. 189, PageID.4105–4106.). In response, Paterson said “I accept that. And my client understands

  that.” (R. 189, PageID.4106.)

         Less than a month after entering the order regarding the second dispute, the first dispute

  resurfaced. This time, the DDA moved for entry of judgment against the bar owners because they

  failed to pay the attorney fee sanctions awarded to the DDA as a result of the first discovery

  dispute. (R. 70.) The Court granted the DDA’s motion and entered the proposed judgment

  submitted by the DDA in the amount of $3,956.04 in favor of the DDA. (R. 78.) But the bar owners

  did not pay. So the DDA issued writs of garnishment to begin collecting. (R. 107, 108, 114, 115.)

  A few months later, pursuant to the parties’ agreement and in lieu of the judgment, the Court

  entered an amended order giving the bar owners 30 days to pay the sanction. (R. 113,

  PageID.2255.) In other words, in March 2018, the Court gave the bar owners 30 more days to

  comply with a monetary sanction order issued nine months earlier. (Id.)

         Plaintiffs did not comply. (R. 189, PageID.4076, 4291.) Indeed, they did not pay until June

  22, 2018, well beyond the 30-day period—and one day after the DDA filed the present motion

  asking the Court to dismiss the case and to hold the bar owners in civil contempt due to their failure

  to pay. (Compare R. 189, PageID.4076, with R. 196, PageID.4426.)




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         Meanwhile, discovery progressed. And disputes continued to arise as the parties began

  deposing witnesses. As a result, the Court permitted limited extensions of the discovery deadline

  to ensure the parties completed discovery. (See R. 88, 113, 143.) The final deadline came and went

  in mid-June 2018. (R. 143, PageID.2651.)

         But during the final depositions, the DDA learned about undisclosed documents in the bar

  owners’ possession. In March 2018, the DDA deposed Plaintiff Christopher Williams, one of the

  owners. During the deposition, Williams said he had documents to support his retaliation

  allegations. (R. 189, PageID.4158.) But Williams did not have the documents with him and said

  Paterson never told him he should have brought them. (Id.) So the parties agreed to adjourn

  Williams’ deposition until he produced the documents. (Id. at PageID.4159.) Eventually he did,

  sending additional documents to the DDA—19 in all. (R. 189-8.)

         Then, at the continued deposition, Williams identified more discovery violations. For one,

  he spoke of additional unproduced documents pertaining to the operation of the bar. (R. 189,

  PageID.4270.) And he said he had unproduced records of Detroit Police citations issued to the bar.

  (Id. at PageID.4273.) And he said he never requested any records from the Michigan Liquor

  Control Commission (id. at PageID.4271–4272), despite the Court order directing the bar owners

  to do so by the end of June 2017 (R. 43, PageID.629).

         Over a month later, the problems continued when Defendants deposed another Plaintiff,

  Kenneth Bridgewater. (R. 189-10.) For the first time, the DDA learned Bridgewater might have

  phone records documenting pre-bid conversations with Denis Archer, Jr. (R. 189, PageID.4276.)

  And Bridgewater arrived at the deposition with documents he refused to disclose to Defendants.

  (R. 189, PageID.4276, 4278.) Among the documents, Bridgewater said he had notes from

  meetings, all of which occurred prior to filing suit and all dealing with issues at the heart of this



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  case. (Id. at PageID.4277.) And Bridgewater said he had still more notes at home. (Id. at

  PageID.4278, 4279, 4281, 4286, 4287, 4288.) Bridgewater said the notes memorialized pre-bid

  meetings with redevelopment officials (id. at PageID.4277), settlement meetings with DDA

  officials (id. at PageID.4279), at least one conversation with the Mayor (id. at PageID.4280),

  multiple interactions with Detroit Police Officers (id. at PageID.4282–4283), a meeting where

  DDA officials allegedly told the bar owners the Mayor did not want “black clientele downtown”

  (id. at PageID.4285), and maybe records of fire code violations the bar received (id. at

  PageID.4288). Bridgewater never produced any of the documents. (R. 189, PageID.4075–4076.)

          These depositions also revealed tax returns that had not been produced and which are

  relevant to the issue of damages. (R. 189, PageID.4079.) According to Plaintiffs, these returns

  were only recently filed and that is why they were not produced. (R. 196, PageID.4428.) But

  Plaintiffs do not reveal the filing date. (Id.)

          Taken together, Williams and Bridgewater’s revelation of documents previously

  undisclosed constitute a violation of the Court’s September 2017 order and Federal Rules of Civil

  Procedure 34 and 37. (R. 65, PageID.1921.) And as that 2017 order put Paterson and the individual

  Plaintiffs on notice that disclosure of documents past late-September 2017 opened the door for the

  DDA to move to dismiss, the DDA so moved. (R. 189.)

          Individual Plaintiffs oppose the motion through an untimely response. (R. 196.) (The

  corporate Plaintiff filed for Bankruptcy and is subject to an automatic stay.) The issues are familiar

  to the Court and so a hearing would not aid in the resolution of the motion. E.D. Mich. LR 7.1(f).

                                                    II.

          Where a plaintiff or plaintiff’s counsel flouts the Federal Rules of Civil Procedure or court

  orders, the Rules contemplate dismissal of the action. See Fed. R. Civ. P. 41(b), 37(b) and (c). To



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  assess whether dismissal is warranted, the Court weighs four factors. See Regional Refuse Systems,

  Inc. v. Inland Reclamation Co., 842 F.2d 150, 153–55 (6th Cir. 1988). The failures to comply must

  be “due to willfulness, bad faith, or fault”; the other side must show prejudice flowing from the

  conduct; the Court must have warned the noncompliant party that their conduct might bring about

  dismissal; and the Court must have at some point imposed or considered lesser sanctions.

  Carpenter v. City of Flint, 723 F.3d 700, 704 (6th Cir. 2013); Harmon v. CSX Transp., Inc., 110

  F.3d 364, 366–67 (6th Cir. 1997).

                                                 III.

         The DDA says all four factors point toward dismissal. (R. 189, PageID.4077.) Relevant to

  the first factor, Plaintiffs never “timely or voluntarily complied with any [written] discovery

  obligations.” (Id.) Most telling, the DDA points to the paucity of documents initially produced and

  the much later revelation by Bridgewater and Williams that more documents have always existed.

  (Id. at PageID.4078–4079.) This noncompliance prejudiced the DDA to the tune of time and

  money spent on numerous conferences, motions, and hearings to obtain compliance with the

  Federal Rules of Civil Procedure. (Id. at PageID.4079–4080.) And Plaintiffs and their counsel had

  the benefit of both lesser sanctions and a warning to change their ways. (Id. at 4080–4081.)

         Consistent with their discovery problems, Plaintiffs did not timely respond to the DDA’s

  motion for the sanction of dismissal. See L.R. 7.1(e)(1)(B). When the bar owners finally did

  respond, they said they had complied with all the Court’s discovery orders (R. 196, PageID.4428),

  and took issue with the DDA’s attempt to hold them in civil contempt (Id. at PageID.4426). In

  particular, the bar owners said they had already paid the sanctions, so the DDA’s assertions to the

  contrary were just “misleading and false arguments[.]” (R. 196, PageID.4426.) And the documents




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  the DDA says are missing are really just tax documents that the bar owners had not prepared or

  filed “until recently.” (Id. at PageID.4428.)

         The DDA replied. They attached a copy of two money orders from Paterson, payable to

  DDA. (R. 197, PageID.4440.) Each was dated June 22, 2018—one day after the DDA filed its

  motion to dismiss. (R. 189.)

         The Court finds that the four-factor test supports dismissal as a discovery sanction.



         The first factor “requires ‘a clear record of delay or contumacious conduct.’” Carpenter,

  723 F.3d at 704 (quoting Freeland v. Amigo, 103 F.3d 1271, 1277 (6th Cir. 1997)). Contumacious

  conduct can mean a few things. Carpenter, 723 F.3d at 704–05. One is behavior that is “‘perverse

  in resisting authority’ and ‘stubbornly disobedient.’” Schafer v. City of Defiance Police Dep’t, 529

  F.3d 731, 737 (6th Cir. 2008) (quoting Webster’s Third New International Dictionary 497 (1986)).

  Another is conduct displaying “either an intent to thwart judicial proceedings or a reckless

  disregard for the effect of [his] conduct on those proceedings.” Mulbah v. Detroit Bd. of Educ.,

  261 F.3d 586, 591 (6th Cir. 2001). And a third is conduct “stubbornly disobedient and willfully

  contemptuous.” Harmon, 110 F.3d at 368.

         Here, Plaintiffs and their counsel have violated multiple Court orders and failed to follow

  the Federal Rules on several occasions. (R. 189, PageID. 4102; R. 44, PageID. 642.) Recall that

  Plaintiffs provided dubious reasons for failing to turn over audit records that the Court ordered

  produced as part of the initial disclosures. And the audit records were again sought in a document

  request. So over a year ago, in June 2017, the Court directed Plaintiffs to request their own bar

  records from the Michigan Liquor Control Commission. That was never done—even prior to the

  lease issues being remanded to state court. (R. 189, PageID.4076; R. 189, PageID.4272.) Move on



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  to the September 2017 order. There, the Court ordered Paterson to consult with his clients over the

  next seven days to be certain that they had disclosed any and all responsive documents in their

  possession, custody, and control. And yet, months later, when the DDA deposed the individual

  Plaintiffs, they revealed undisclosed documents that are relevant and responsive. And presently,

  they continue to withhold them. Some records detail the business of running the bar, others detail

  actions taken against the bar by DPD officers, and still others memorialize meetings with DDA

  and City officials regarding the redevelopment plan. Just as clearly, Plaintiffs violated the Court’s

  November 2017 and March 2018 orders directing them to pay certain of the DDA’s costs and fees

  as a monetary sanction. After the bar owners did not pay under the November order, the March

  order issued, giving them until early April to pay. (R. 117, PageID. 4154.) They failed to do so.

  Plaintiffs did not pay the monetary sanction until June 22, 2018—the day after the DDA filed this

  motion to dismiss.

          Unfortunately, neither the Plaintiffs nor Paterson have been forthright with the Court.

  Paterson offered shifting and unpersuasive explanations for his clients’ failure to provide audit

  records. And in their (untimely) response to this motion, Plaintiffs claim that they have complied

  with all of the Court’s discovery orders. But the record plainly belies that assertion. And, with the

  exception of the tax returns, Plaintiffs fail to even address, let alone explain, their failure to produce

  the other documents and records identified by the DDA. Worse still, the response states, “Contrary

  to the Defendant DDA’s misleading and false arguments, individual Plaintiffs have paid the

  sanctions judgment entered by the Court in the amount of $3,957.” (R. 196, PageID.4426.) But at

  the time the DDA filed the motion, June 21, 2018, Plaintiffs had not yet paid the sanctions. So the

  Plaintiffs are the ones making misleading and false statements.




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         All told, in two years, Plaintiffs and their counsel have violated three of the Court’s

  discovery orders, ignored the Federal Rules of Civil Procedure, and have been less than honest in

  their representations to the Court. Their behavior goes beyond mere violation of the local rules or

  dilatory tactics. See Carpenter, 723 F.3d at 705 (declining to find contumacious the plaintiff’s

  delayed filings and violations of the local rules); Mulbah, 261 F.3d at 592 (collecting cases to

  reason that mere “dilatory” conduct is not enough to show contumacious conduct). Added together,

  the conduct is contumacious. See Harmon, 110 F.3d at 368 (finding contumacious conduct where

  an attorney inadequately responded to court-ordered discovery requests, served nearly a year prior,

  and ignored the other party’s requests for compliance); see also Baron v. Univ. of Mich., 613 F.

  App’x 480, 484–85 (6th Cir. 2015) (finding contumacious conduct where plaintiff and her counsel

  provided incomplete discovery responses, never disclosed documents despite an order to compel,

  and never paid sanctions); Smith v. Nationwide Mut. Fire Ins. Co., 410 F. App’x 891, 895–96 (6th

  Cir. 2010) (finding contumacious conduct where plaintiffs ignored discovery requests and refused

  to produce documents despite two court orders demanding they do so); Fharmacy Records v.

  Nassar, 248 F.R.D. 507, 530 (E.D. Mich. 2008) (finding contumacious conduct where, among

  other things, plaintiff and their attorney attempted to conceal evidence and lied to opposing

  counsel), aff’d, 379 F. App’x 522 (6th Cir. 2010). The first factor is satisfied.



         As for the second factor, prejudice requires the DDA show they were “required to waste

  time, money, and effort in pursuit of cooperation which [the plaintiff] was legally obligated to

  provide.” Harmon, 110 F.3d at 368.

         The DDA says they have been “forced to file four motions directed at obtaining various

  discovery requests, attend multiple hearings on these motions, request and attend multiple ‘meet



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  and confers,’ and incur a substantial amount of otherwise unnecessary attorney’s fees and costs.”

  (R. 189, PageID.4080.) And Williams’ deposition had to be continued because he failed to provide

  necessary documents. These added costs cause prejudice. See Harmon, 110 F.3d at 368. And the

  record shows that, eventually, the DDA’s lawyers will pass those added costs onto their clients.

  (See, e.g., R. 70-1.)

          Moreover, the lengthy discovery period is technically over, so the DDA has expended more

  than minimal efforts in this case. But there may be a need for some follow-up discovery.

  Bridgewater was one of the last people deposed. He testified that he has proof of a conspiracy to

  oust the Centre Bar from Harmonie Park. (R. 189-10.) But he also testified that he has not produced

  all of his documentary proof. If he had disclosed the documents when the Court ordered him to do

  so—nearly eight months prior to his deposition—then the DDA may have asked different

  questions at Bridgewater’s deposition, and at earlier ones. Re-deposing witnesses would only

  increase the DDA’s costs and prejudice.

          The prejudice factor points to dismissal.



          So, too, do the fair-warning and lesser-sanction factors. As for fair warning, back in

  September 2017, the Court put Paterson “on notice” that dismissal was a “likely and possible

  sanction” if Plaintiffs did not comply with the Court’s discovery order. (R. 189, PageID.4105.)

  Paterson said he understood, and he said his clients understood. So early on, Paterson “was warned

  that failure to cooperate could lead to dismissal.” Mulbah, 261 F.3d at 589. Second, at different

  times, the Court imposed lesser sanctions in the form of a monetary fine and limits on the future

  use of evidence if Paterson and his clients failed to produce everything they had (R. 43,

  PageID.629–30; R. 65, PageID.1920). See Carpenter, 723 F.3d at 709–10. But, as detailed above,



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  the lesser sanctions did not result in compliance with the Court’s orders or the Federal Rules of

  Civil Procedure. The September 2017 order provides an instructive example.

         The final factors each point toward dismissal.



         In the end, all four factors favor dismissal. Plaintiffs engaged in contumacious conduct and

  the DDA established prejudice as a result. The Court warned Plaintiffs that their continued

  disregard for the Court’s orders and the Rules would make dismissal a likely sanction. And the

  Court tried lesser sanctions, but none worked.

         Thus, the Court dismisses the individual Plaintiffs’ claims against the DDA.

                                                   IV.

         The DDA also asks the Court to hold the bar owners in civil contempt for violating the

  Court’s orders, especially the monetary-sanctions award. (R. 189, PageID.4082.) And the DDA

  wants the bar owners conditionally incarcerated until they pay. (Id. at PageID.4084.)

         But contempt is a “serious” power to be used only as a “last resort.” Gascho v. Global

  Fitness Holdings, LLC, 875 F.3d 795, 799 (6th Cir. 2017). And the DDA’s motion has resulted in

  the payment of the monetary sanctions award. So the DDA’s request to hold the Plaintiffs in

  contempt is denied.

                                                   V.

         In sum, the Court GRANTS in part and DENIES in part the DDA’s motion to dismiss. (R.

  189.) The Court dismisses the individual Plaintiffs’ claims against the DDA but does not find them

  in civil contempt.

         SO ORDERED.

                                               s/Laurie J. Michelson
                                               UNITED STATES DISTRICT JUDGE

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  Date: October 9, 2018


         I hereby certify that a copy of the foregoing document was served upon counsel of record
  and/or pro se parties on this date, October 9, 2018, by electronic and/or ordinary mail.


                                             s/William Barkholz
                                             Case Manager




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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    GWENDOLYN WILLIAMS;
    CHRISTOPHER WILLIAMS; AND
    KENNETH SCOTT
    BRIDGEWATER, ET AL.,

         Plaintiffs,                            Case No. 16-cv-14112
                                                Hon. Laurie J. Michelson
    v.                                          Mag. Judge Anthony P. Patti

    DETROIT ECONOMIC
    GROWTH CORPORATION; ET AL.,

         Defendants.


     PATERSON LAW FIRM                      KOTZ SANGSTER WYSOCKI P.C.
     By: Andrew A. Paterson (P18690)        By: Jeffrey M. Sangster (P30791)
     Counsel for Individual Plaintiffs          Anthony M. Sciara (P75778)
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                                            CITY OF DETROIT LAW DEPARTMENT
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                                            Counsel for City of Detroit and
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Case
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       DETROIT ECONOMIC GROWTH CORPORATION’S COMBINED
        MOTION FOR SUMMARY JUDGMENT, OR DISMISSAL AS A
           SANCTION, OF INDIVIDUAL PLAINTIFFS’ CLAIMS

        Now comes Defendant Detroit Economic Growth Corporation, by its

   counsel, Kotz Sangster Wysocki P.C., in accordance with Federal Rules of Civil

   Procedure 56, 37, and 41, and for its Combined Motion for Summary Judgment,

   or Dismissal as a Sanction, of Individual Plaintiffs Gwendolyn Williams’s,

   Christopher Williams’s, and Kenneth Scott Bridgewater’s claims in their Second

   Amended Complaint, states:

        WHEREFORE,           Defendant   Detroit   Economic    Growth    Corporation

   respectfully requests that, in accordance with Federal Rules of Civil Procedure

   56, 37, and 41, and for the reasons stated in its brief in support of this combined

   motion and the exhibits appended thereto, this Court grant summary judgment

   on, or dismiss as a sanction, Plaintiffs Gwendolyn Williams’s, Christopher

   Williams’s, and Kenneth Scott Bridgewater’s claims in their Second Amended

   Complaint.


                                               Respectfully submitted,

                                               KOTZ SANGSTER WYSOCKI P.C.

    Dated: January 4, 2019               By:   /s/ Jeffrey M. Sangster

                                               Jeffrey M. Sangster (P30791)
                                               Anthony M. Sciara (P75778)
                                               Counsel for DEGC
Case
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

    GWENDOLYN WILLIAMS;
    CHRISTOPHER WILLIAMS; AND
    KENNETH SCOTT
    BRIDGEWATER, ET AL.,

         Plaintiffs,                              Case No. 16-cv-14112
                                                  Hon. Laurie J. Michelson
    v.                                            Mag. Judge Anthony P. Patti

    DETROIT ECONOMIC
    GROWTH CORPORATION; ET AL.,

         Defendants.


     PATERSON LAW FIRM                         KOTZ SANGSTER WYSOCKI P.C.
     By: Andrew A. Paterson (P18690)           By: Jeffrey M. Sangster (P30791)
     Counsel for Individual Plaintiffs             Anthony M. Sciara (P75778)
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        DETROIT ECONOMIC GROWTH CORPORATION’S BRIEF IN
     SUPPORT OF ITS COMBINED MOTION FOR SUMMARY JUDGMENT,
                    OR DISMISSAL AS A SANCTION,
                 OF INDIVIDUAL PLAINTIFFS’ CLAIMS

        Now comes Defendant Detroit Economic Growth Corporation, by its

   counsel, Kotz Sangster Wysocki P.C., in accordance with Federal Rules of Civil

   Procedure 56, 37, and 41, and for its Brief in Support of Its Combined Motion for

   Summary Judgment, or Dismissal as a Sanction, of Individual Plaintiffs

   Gwendolyn      Williams’s,    Christopher    Williams’s,   and   Kenneth     Scott

   Bridgewater’s claims in their Second Amended Complaint, states:

                                QUESTIONS PRESENTED

    A. Should this Court grant summary judgment on Counts I and II (first
       amendment retaliation) of the Complaint because Individual Plaintiffs cannot
       establish the necessary elements?

               DEGC:                            Yes.
               Individual Plaintiffs:           No.

    B. Should this Court grant summary judgment on Count III (equal protection)
       of the Complaint because Individual Plaintiffs cannot establish the necessary
       elements?

               DEGC:                            Yes.
               Individual Plaintiffs:           No.

    C. Should this Court, in any event, grant summary judgment on Counts I, II,
       and III (§ 1983 claims) of the Complaint because Individual Plaintiffs cannot
       establish a custom or policy of DEGC was a driving force behind the alleged
       deprivation of rights?

               DEGC:                            Yes.
               Individual Plaintiffs:           No.

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    D. Should this Court grant summary judgment on Count IV (promissory
       estoppel) of the Complaint because Individual Plaintiffs cannot establish the
       necessary elements?

               DEGC:                           Yes.
               Individual Plaintiffs:          No.
    E. Should this Court grant summary judgment on Count V (tortious
       interference) of the Complaint because Individual Plaintiffs cannot establish
       the necessary elements?
               DEGC:                           Yes.
               Individual Plaintiffs:          No.
    F. Should this Court grant summary judgment on Count VI (trespass) of the
       Complaint because Individual Plaintiffs cannot establish the necessary
       elements?
               DEGC:                           Yes.
               Individual Plaintiffs:          No.
    G. Should this Court grant summary judgment on Counts VII and IX (claims for
       relief) of the Complaint because Individual Plaintiffs cannot establish the
       claims underlying them?
               DEGC:                           Yes.
               Individual Plaintiffs:          No.

    H. In the event this Court grants summary judgment on Counts I, II, and III
       (federal claims) of Individual Plaintiffs’ Complaint, should this Court retain
       jurisdiction over Counts IV, V, and VI (state law claims)?

               DEGC:                           Yes.
               Individual Plaintiffs:          No.


    I. Should this Court dismiss all of Individual Plaintiffs’ claims in the
       Complaint as a sanction because of Individual Plaintiffs contumacious
       disregard for this Court’s orders?
               DEGC:                           Yes.
               Individual Plaintiffs:          No.


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           CONTROLLING OR MOST APPROPRIATE LEGAL AUTHORITIES

    A. Federal Rule of Civil Procedure 56

    B. Federal Rule of Civil Procedure 37

    C. Federal Rule of Civil Procedure 41

    D. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)

    E. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986)

    F. Arnett v. Myers, 281 F.3d 552, 560 (6th Cir. 2002)

    G. Bannum, Inc. v. City of Louisville, 958 F.2d 1354, 1359-1360 (6th Cir. 1992)

    H. Street v. Correction Corporations of America, 102 F.3d 810, 818 (6th Cir.
       1996)

    I. Lakin v. Bloomin’ Brands, Inc, 2018 WL 488955, *2 (E.D. Mich., January
       19, 2018)

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    K. Adams v. Cleveland-Cliffs Iron Co., 237 Mich. App. 51, 67, 602 N.W.2d 215
       (1999)

    L. Gamel v. City of Cincinnati, 625 F.3d 949, 951 (6th Cir. 2010)

    M. ECF Doc. No. 201


                         CERTIFICATION UNDER LR 7.1(A)

    There was a conference between attorneys or unrepresented parties and other
    persons entitled to be heard on the motion in which the movant explained the
    nature of the motion or request and its legal basis and requested but did not
    obtain concurrence in the relief sought.


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                                    INTRODUCTION

         On September 29, 2017, Individual Plaintiffs and the entity they owned and

    controlled, Plaintiff Lotus Industries, LLC d/b/a Centre Park Bar (“Centre Park

    Bar”) (collectively “Plaintiffs”), filed their Second Amended Verified Complaint

    for Declaratory Judgment and Injunctive Relief (“Complaint”).1 The Complaint

    primarily alleges a conspiracy by two entities and five individuals to retaliate

    against Plaintiffs for purportedly exercising their First Amendment rights. The

    Complaint contains nine counts against DEGC: (I-II) First Amendment

    Retaliation; (III) Equal Protection; (IV) Promissory Estoppel; (V) Tortious

    Interference; (VI) Trespassing; (VII) Injunctive Relief; and (IX) Attorney’s Fees.

    The Court should grant summary judgment on, or dismiss as a sanction, all of

    them.

         First, Individual Plaintiffs cannot establish DEGC retaliated against them for

    allegedly exercising their First Amendment rights because there is no evidence

    DEGC took any adverse action against them, no evidence DEGC conspired with

    anyone to take adverse action against them, and the eviction proceedings were

    necessary and justified. Second, Individual Plaintiffs cannot establish DEGC

    1
      On March 22, 2018, the United States Bankruptcy Court for the Eastern
    District of Michigan found Centre Park Bar had filed a Chapter 11 proceeding
    in bad faith, converted the Chapter 11 proceeding to a Chapter 7 proceeding,
    and appointed a United States Trustee. See In re Lotus Industries, Case No. 18-
    40621, ECF Doc. No. 127. The proceeding was subsequently dismissed
    pursuant to settlement between the trustee and creditors.
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    denied them equal protection of the law because there is no evidence Centre Park

    Bar was treated differently than similarly situated businesses. Third, Individual

    Plaintiffs cannot, in any event, establish any of their § 1983 claims because there

    is no evidence a custom or policy of DEGC was the driving force behind the

    alleged deprivations of constitutional rights. Fourth, Individual Plaintiffs cannot

    establish their right to promissory estoppel because there is no evidence

    supporting any of the elements.      Fifth, Individual Plaintiffs cannot establish

    tortious interference because there is no evidence supporting any of the elements.

    Sixth, Individual Plaintiffs cannot establish trespass because there is no evidence

    of any unauthorized intrusions by DEGC. Finally, in the event the Court does not

    grant summary judgment on the entire Complaint, the Court should nonetheless

    dismiss all remaining counts as a sanction for Individual Plaintiffs’ contumacious

    disregard of the Court’s orders. Accordingly, this Court should grant summary

    judgment on, or dismiss as a sanction, all counts of Individual Plaintiffs

    Complaint.2

                                   LEGAL STANDARD

         Summary judgment may be granted “if the pleadings, depositions, answers

    to interrogatories, and admissions on file, together with the affidavits, if any,


    2
      This motion does not request any relief against Centre Park Bar because, on
    November 9, 2018, this Court dismissed all claims made by Centre Park Bar in
    their entirety, with prejudice. See ECF Doc. No. 208.
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    show there is no genuine issue as to any material fact and that the moving party

    is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. In considering a

    motion for summary judgment, the Court views all evidence in a light most

    favorable to the nonmovant and draws all reasonable inferences in favor of the

    nonmovant. Douglas v. Co. of Jackson, 804 F. Supp. 944, 947 (E.D. Mich.

    1992).

        The movant bears the initial burden of demonstrating the absence of any

    genuine issues of material fact. Douglas, 807 F. Supp. at 947-48. The movant

    may discharge this burden by “‘showing’ – that is, pointing out to the district

    court—that there is an absence of evidence to support the nonmoving party’s

    case.’” Id. (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)). Once

    the moving party does this, the burden shifts to the nonmoving party to set forth

    specific facts showing a genuine triable issue. Id. To show there exists a

    genuine issue of material fact, however, the nonmovant must do more than

    present some evidence on a disputed issue. Id. Rather, “there is no issue for

    trial unless there is sufficient evidence favoring the nonmoving party for a jury

    to return a verdict for that party.    If the nonmovant’s evidence is merely

    colorable, or is not significantly probative, summary judgment may be granted.”

    Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986)).




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                                      ARGUMENT

     I. This Court Should Grant Summary Judgment On Counts I, II, III, IV,
        V, VI, VII, and IX Of The Complaint

     A. This Court Should Grant Summary Judgment On Counts I and II
        (First Amendment Retaliation) Of The Complaint Because Individual
        Plaintiffs Cannot Establish The Necessary Elements

        To establish a claim under section 1983 for First Amendment retaliation, a

  plaintiff must show: (1) that he or she engaged in protected conduct; (2) that an

  adverse action was taken against him or her that would deter a person of ordinary

  firmness from continuing to engage in that conduct; and (3) that there is a causal

  connection between elements one and two – i.e., a plaintiff must show that the

  adverse action was motivated, at least in part, by his or her protected

  conduct. Arnett v. Myers, 281 F.3d 552, 560 (6th Cir. 2002). Individual Plaintiffs

  claim DEGC took adverse action against them for publicly criticizing the RFP

  process by: (1) issuing noise citations to Centre Park Bar, (2) harassing Centre

  Park Bar, and (3) initiating eviction proceedings. (Complaint, p. 16-18, 19). There

  is no evidence to support these assertions.

        First, DEGC did not issue noise citations to, or harass patrons at, Centre

  Park Bar. DEGC is not a policing authority. DEGC is a nonprofit corporation

  contracted to undertake certain activities on behalf of DDA. DEGC does not have

  legal authority to issue citations to anyone. Nor is there any evidence DEGC

  harassed anyone. In fact, Individual Plaintiffs’ assert only that “the actions of

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  Detroit Police Officer[s], at the direction of Defendants Chief Craig and Duggan,

  taken against [Plaintiffs], were taken in retaliation against them,” not that DEGC

  took any of these actions against them. (Complaint, p. 76) (See also Complaint, ¶¶

  69-75).

        Second, DEGC did not conspire with anyone to issue noise citations to, or

  harass patrons at, Centre Park Bar. A civil conspiracy is an agreement between

  two or more persons to injure another by unlawful action. Memphis, Tennessee

  Area Local, American Postal Workers Union, AFL–CIO v. City of Memphis, 361

  F.3d 898, 905 (6th Cir. 2004). Express agreement among all the conspirators is not

  necessary to find the existence of a civil conspiracy and each conspirator need not

  have known all of the details of the illegal plan or all of the participants involved.

  Id. But a plaintiff must show “[a] there was a single plan, [b] that the alleged

  coconspirator shared in the general conspiratorial objective, and [c] that an overt

  act was committed in furtherance of the conspiracy.” Id. Significantly, conspiracy

  claims must be established with “some degree of specificity” and “vague and

  conclusory” assertions unsupported by material facts will not be sufficient to assert

  such a claim under § 1983. See Gutierrez v. Lynch, 826 F.2d 1534, 1538 (6th Cir.

  1987).

        Here, while Individual Plaintiffs “believe” DEGC “conspired” with police

  officers and others to retaliate against them (Complaint, ¶¶ 81-82), aside from their


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  own convenient and speculative testimony, there has never been any evidence

  proffered supporting their allegation. There is no evidence of a singular plan

  between DEGC and others to ticket and harass Individual Plaintiffs. There is no

  evidence DEGC shared some broader conspiratorial objective to harass Individual

  Plaintiffs because of their alleged public criticisms of the RFP process. And there

  is no evidence the noise violations Individual Plaintiffs received were merely

  pretextual acts in furtherance of some conspiracy.

        In fact, on August 29, 2017, (then) Chief Judge of the Circuit Court of

  Wayne County, Robert J. Colombo, Jr., confirmed the legitimacy of the citations

  Centre Park Bar received by issuing an Order for Preliminary Injunction and

  Immediate Abatement of Nuisance (“Nuisance Abatement Order”). (See Nuisance

  Abatement Order, attached as Exhibit 2) (See also Transcript of Ruling, attached as

  Exhibit 3). After a multi-day evidentiary hearing – including testimony from

  experts – Judge Colombo specifically ordered Plaintiffs to “immediately abate the

  nuisance and … enjoined [them] from any and all further violations of the Detroit

  noise ordinance….” (Id.). In doing so, Judge Colombo found, among other things:

              “It’s also very disturbing to me how little the Centre Park
              Bar cares about its neighbor at the Hilton Hotel and how
              little its [sic] done to try to address this issue. It really
              reflects very poorly on the management team and
              ownership team at the Centre Park Bar, that they can’t
              control the noise.”



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               “The police officers who have gone to the scene do that
               as a result of 911 calls. There has been a suggestion by
               Mr. Paterson that this is harassment. How is it
               harassment when citizens are calling the police
               department and complaining about the noise level at the
               Centre Park Bar and the Centre Park Bar refuses to
               address the issue?”

               “When the police officers come to the Centre Park Bar,
               they request the music to be turned down. Occasionally
               it happens. But they’re required to come back later
               because the music has gone up to the elevation level that
               they were originally there for.”

  (Exhibit 3, p. 6-7) (emphasis added).

        Significantly, Individual Plaintiffs are now collaterally estopped from

  claiming the noise violations issued by police officers were designed to harass

  them. Issue preclusion requires the court to consider four elements: 1) whether the

  issue decided in the prior adjudication was identical with the issue presented in the

  present action; 2) whether the prior adjudication resulted in a judgment on the

  merits; 3) whether the party against whom collateral estoppel is asserted was a

  party or in privity with a party to the prior adjudication; and, 4) whether the party

  against whom collateral estoppel is asserted had a full and fair opportunity to

  litigate the issue during the prior suit. Sims-Eiland v Detroit Bd. of Ed., 173 F.

  Supp. 2d 682, 687 (E.D. Mich. 2001). All of these elements are satisfied here.

  Judge Colombo expressly found the noise violations were not intended to harass

  Individual Plaintiffs; Individual Plaintiffs were parties/privies to the other


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  proceeding; a final judgment has been entered in that case; and Individual

  Plaintiffs presented their arguments concerning the issue during a multi-day

  evidentiary hearing. (See Exhibits 2 and 3) (See also Final Order, attached as

  Exhibit 17).

        There are simply no pleadings, depositions, affidavits, answers to

  interrogatories, or admissions on file, which demonstrate – let alone with any

  specificity – DEGC participated in a conspiracy. See Fed. R. Civ. P. 56. Even

  Individual Plaintiffs know this: they have acknowledged they have nothing more

  than vague and conclusory assertions by admitting they have no documents “to

  support or prove” their claim “police officers” were “directed … to harass the

  plaintiffs.” (See Deposition of Christopher Williams, 3/14/18, p. 10, attached as

  Exhibit 4).

        Third, while Individual Plaintiffs suggest the initiation of eviction

  proceedings was “adverse,” DEGC did not initiate eviction proceedings against

  Individual Plaintiffs. DEGC and DDA are not the same. DDA is a Michigan

  public body corporate created by the Detroit City Council under statutory

  authority.     See MCL § 125.1651, et seq.    DEGC is a nonprofit corporation

  contracted to undertake certain activities on behalf of DDA. DEGC does not own

  property. DDA owns the property previously leased by Centre Park Bar. DEGC

  was not Centre Park Bar’s landlord. DDA was Centre Park Bar’s landlord. (See


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  Lease, attached as Exhibit 5). DEGC was not a party in state court litigation with

  Centre Park Bar, Christopher Williams, and Gwendolyn Williams. DDA was the

  plaintiff in state court litigation with Centre Park Bar, Christopher Williams, and

  Gwendolyn Williams. (See Pleadings from State Court Proceedings, attached as

  Exhibit 6).   In short, DEGC is nothing more than a nonprofit corporation

  contracted to undertake certain activities on behalf of DDA. DEGC had nothing to

  do with the eviction proceedings.

        Moreover, there is no evidence the eviction proceedings were motivated by

  Plaintiffs’ criticism of the RFP process. See Arnett, 281 F.3d at 560 (“adverse

  action” must be “motivated … by … protected conduct.”) (See also Complaints

  Against Other Delinquent Tenants, attached as Exhibit 7). Indeed, ten demands for

  possession had been issued by DDA to Centre Park Bar for nonpayment of rent

  before its submission to the RFP process was rejected.         (See Demands for

  Possession and 12/9/15 Email, attached as Exhibits 8 and 9). The legitimacy of

  these demands, and the importance of the proceedings that followed, were only

  further confirmed during the nuisance abatement hearing and the two state court

  judgments awarding DDA collectively $174,854.76 in unpaid rent. (See 5/16/18

  Order, Related Hearing Transcript, and 10/24/18 Order, attached as Exhibits 10,

  11, and 12). The proceedings were obviously justified. Accordingly, this Court

  should grant summary judgment on Counts I and II of the Complaint because


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  Individual Plaintiffs cannot establish the necessary elements of their First

  Amendment retaliation claims.

        B. This Court Should Grant Summary Judgment On Count III (Equal
           Protection) Of The Complaint Because Individual Plaintiffs Cannot
           Establish The Necessary Elements3

          Individual Plaintiffs allege Centre Park Bar was “unfairly and unlawfully

  targeted for harassment by Defendants Duggan and Chief Craig because it is an

  African-American black owned business and the majority owner … is an African-

  American woman and because a majority of its patrons are African-American.”

  (Complaint, ¶ 96).        Individual Plaintiffs further allege “[n]o other bar or

  restaurant establishment in the Harmonie Park or Paradise Valley area have been

  subjected to the similar police harassment for purported noise complaints or for

  claimed ‘over capacity’ violations of the City’s Fire Code.” (Id. at ¶ 97). But

  Individual Plaintiffs have failed to produce any evidence supporting these

  conclusory allegations.

          For example, Individual Plaintiffs have failed to produce any evidence

  establishing they were treated differently than businesses similarly situated to

  Centre Park Bar. The basis of an equal protection claim is disparate treatment by

    3
      It is not clear whether Count III is even pled against DEGC. In paragraph 96
    of the Complaint, Individual Plaintiffs complain of only “Defendants Duggan
    and Chief Craig.” Yet, in the remainder of Count III, Individual Plaintiffs often
    reference “Defendants” plural. Consequently, out of caution, and to the extent
    this Court construes Count III as alleged against DEGC as well, DEGC has
    addressed Count III.
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  the government of those who are similarly situated. See Bannum, Inc. v. City of

  Louisville, 958 F.2d 1354, 1359-1360 (6th Cir. 1992); see also Scarbrough v.

  Morgan County Bd. of Educ., 470 F.3d 250, 260 (6th Cir. 2006) (“The threshold

  element of an equal protection claim is disparate treatment.”).    Here, while

  Individual Plaintiffs have vaguely suggested “Old Shillelagh’s” and other

  unidentified, so-called “white bars” were not issued citations for supposedly

  similar conduct, aside from Individual Plaintiffs own nonspecific speculation,

  there is no evidence supporting their claim. To wit:

              Q:     And do you know if complaints were made and no
                     response was – that the police did not respond to
                     noise complaints about any other businesses?

              A:     No, they haven’t.

              Q:     Do you know that?

              A:     Yes, I know that.

              Q:     Do you know that complaints were made?

              A:     I know complaints were made about me –

              Q:     No, no.

              A:     -- I know that complaints were not made about
                     them.

              Q:     Okay.

              A:     Because if complaints were made about them, they
                     will be shut down like I was.


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  (See Deposition Transcript of Christopher Williams (4/2/18), p. 272, attached as

  Exhibit 13).

         Moreover, even if these conclusory assertions were somehow sufficient

  (they are not), there remains a complete absence of evidence the citations issued

  to Centre Park Bar were “so unrelated to the achievement of any combination of

  legitimate purposes that the court can only conclude that the government’s actions

  were irrational.” Warren v. City of Athens, 411 F.3d 697, 710-11 (6th Cir. 2005).

  In fact, the actual evidence establishes the opposite conclusion. (See § I. A.

  above). Accordingly, this Court should grant summary judgment on Count III of

  the Complaint because Individual Plaintiffs cannot establish the necessary

  elements of their Equal Protection claim.

     C. This Court Should, In Any Event, Grant Summary Judgment On
        Counts I, II, and III (§ 1983 Claims) Of The Complaint Because
        Individual Plaintiffs Cannot Establish A Custom Or Policy Of DEGC
        Was The Driving Force Behind The Alleged Deprivations Of Rights

         As discussed above, Individual Plaintiffs assert Section 1983 actions

    claiming DEGC violated their constitutional rights. (Complaint, p. 13-22). But

    DEGC is not an individual. DEGC is a nonprofit corporation contracted to

    undertake certain activities on behalf of DDA. And such a defendant “cannot be

    held liable under section 1983 on a respondeat superior or vicarious liability

    basis.” Street v. Correction Corporations of America, 102 F.3d 810, 818 (6th

    Cir. 1996) (applying rule to municipal and private corporations). Rather, “under
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    Section 1983,” DEGC’s liability “depends upon a demonstration that [Individual

    Plaintiffs’] ‘constitutional rights were violated and that a policy or custom’ of

    [DEGC] ‘was the moving force behind the deprivation of [Plaintiffs’] rights.’”

    Savoie v. Martin, 673 F.3d 488, 494 (6th Cir. 2012) (quoting Miller v. Sanilac

    Cnty., 606 F.3d 240, 255 (6th Cir.2010)). Yet Individual Plaintiffs have never

    even pled a policy or custom of DEGC was the moving force behind their

    alleged deprivation of rights, let alone produced any evidence to support this

    necessary element of their § 1983 claims. Accordingly, even if Individual

    Plaintiffs could establish the underlying elements of their constitutional claims

    (they cannot), this Court should nonetheless grant summary judgment on Counts

    I, II, and III because Individual Plaintiffs cannot establish a policy or custom of

    DEGC was the moving force behind their alleged deprivation of rights.4

        D. This Court Should Grant Summary Judgment On Count IV
           (Promissory Estoppel) Of The Complaint Because Individual Plaintiffs
           Cannot Establish The Necessary Elements

          Individual Plaintiffs admit the RFP required all proposals to be submitted

    “no later than 3:00 p.m. November 11, 2015.” (See Exhibit 4, p. 27) (See also

    Deposition of Kenneth Scott Bridgewater, p. 24-27, attached as Exhibit 14)


    4
      In the event this Court grants summary judgment on Counts I, II, and III
    (federal claims), and for the reasons discussed in Section II. below, this Court
    should nonetheless exercise its discretion to retain jurisdiction over Counts IV,
    V, and VI (state claims) and grant summary judgment on them for the reasons
    stated in this motion.
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    (aware of deadline and consequences of noncompliance). Individual Plaintiffs

    also admit their proposal was submitted after the deadline. (See Complaint, ¶

    34) (“Shortly after 3:00 p.m. on November 11, 2015…”); (See also Exhibit 4, p.

    27-29); (proposal stamped at 3:19 p.m.); (See also Exhibit 14, p. 24-27

    (submitted proposal “late” and “after the deadline”).

         Yet Individual Plaintiffs nonetheless ask this Court to force DEGC – via

    promissory estoppel – to consider their proposal and/or award damages against

    DEGC for not doing so.        To succeed on a claim of promissory estoppel,

    Individual Plaintiffs must establish (1) a promise, (2) the promisor should

    reasonably have expected to induce action of a definite and substantial character

    on the part of the promisee, (3) which in fact produced reliance or forbearance

    and (4) must be enforced to avoid injustice. Lakin v. Bloomin’ Brands, Inc,

    2018 WL 488955, *2 (E.D. Mich., January 19, 2018) (citing Ardt v. Titan Ins.

    Co., 593 N.W.2d 215, 219 (Mich. Ct. App. 1999).         There is no evidence to

    support any of these elements.

         First, Individual Plaintiffs cannot establish a promise sufficient to invoke

    promissory estoppel. According to Individual Plaintiffs, upon Kenneth Scott

    Bridgewater’s arrival to submit their proposal, he realized the proposal was left

    in his vehicle, which had parked by a valet service. (Exhibit 14, p. 24-27).

    After retrieving the proposal from his vehicle, and submitting the proposal to the


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    front desk subsequent to the deadline, Mr. Bridgewater alleges a receptionist

    “promised” DEGC would nonetheless consider the late proposal by stating: “I

    know you were here, so I’ll let them know that was it.” (Exhibit 14, p. 26).

    Even assuming Mr. Bridgewater’s testimony is accurate, such a vague statement

    from a receptionist is hardly sufficient to invoke promissory estoppel. Indeed, a

    “promise under promissory estoppel is ‘a manifestation of intention to act ... in a

    specified way, so made as to justify a promisee in understanding that a

    commitment has been made.’” Lakin, 2018 WL 488955 at 2 (quoting First Sec.

    Sav. Bank v. Aitken, 573 N.W.2d 307, 317 (Mich Ct. App. 1997).

         Second, even assuming the above statement was a “promise,” there is no

    evidence DEGC should reasonably have expected such a “promise” to induce

    action of a definite and substantial character on the part of Individual Plaintiffs.

    This is because, aside from waiting to learn whether the proposal had been

    chosen, there was nothing further for Individual Plaintiffs to do. Any work

    performed in connection with the proposal was necessarily completed prior to

    submitting the proposal.     There was simply no “action of a definite and

    substantial character” DEGC should have reasonably expected Individual

    Plaintiffs would undertake after making the alleged “promise.”




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         Third, there is no evidence the alleged “promise” produced any reliance or

    forbearance by Individual Plaintiffs. In fact, Individual Plaintiffs have admitted

    precisely the opposite:

                Q:    Mr. Williams what did Centre Park do to rely?

                A:    We assumed it would be evaluated with the rest of
                      the proposals.

                Q:    Okay. But what did you do based on your
                      assumption it would be evaluated.

                A:    I didn’t know that – I didn’t know reliance
                      required an activity.

                Q:    I’m just asking you what you did. You say you
                      relied. Did you go out and buy a million dollars of
                      instruction [sic] materials?

                A:    No.

                Q:    Did you spend any money based on that reliance?

                A:    No. We didn’t spend, any money.

                Q:    Okay. Did you take any other action based on that
                      reliance?

                A:    Other than assuming it would be evaluated, I don’t
                      think so.

                Q:    Other than what?

                A:    Other than assuming it would be evaluated in the
                      course of business as promised, I don’t think –
                      that’s it.

    (Exhibit 4, p. 67-68).
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         Finally, even if Individual Plaintiffs could establish the other elements of

    promissory estoppel (they cannot), there is no evidence to support the necessity

    of invoking the Court’s equitable powers and enforcing the “promise” to avoid

    an injustice. In short, Individual Plaintiffs admit they submitted their proposal

    late, they understood the potential consequences of submitting their proposal

    late, and there is no evidence the proposal was rejected for any reason other than

    its tardiness. (Exhibit 9) (“Your proposal was not selected from the following

    reason … Proposal … was submitted after the due date and/or time as

    mentioned in the RFP on page 3.”). In fact, two other submissions were tardy

    and neither of those were considered either. (See Deposition of Moddie Turay,

    p. 135-140, attached as Exhibit 15). All tardy proposals were treated identically.

    (Id.). Accordingly, this Court should grant summary judgment on Count IV of

    the Complaint because Individual Plaintiffs cannot establish the elements of

    promissory estoppel.

      E. This Court Should Grant Summary Judgment On Count V (Tortious
         Interference) Of The Complaint Because Individual Plaintiffs Cannot
         Establish The Necessary Elements

         Individual Plaintiffs claim DEGC tortiously interfered with their contracts

    and/or business relationships. (Complaint, p. 23-26). Tortious interference with

    a contract or contractual relations is a cause of action distinct from tortious

    interference with a business relationship or expectancy. Health Call of Detroit


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    v. Atrium Home & Health Care Services, Inc., 268 Mich. App. 83, 89, 706

    N.W.2d 843 (2005). The elements of tortious interference with a contract are:

    (1) the existence of a contract, (2) a breach of the contract, (3) an unjustified

    instigation of the breach by the defendant, and (4) damages as a result of

    defendant’s conduct. Id. at 89-90; see also M Civ. JI 125.01 and 126.01 (adding

    damages element).     The elements of tortious interference with a business

    relationship or expectancy are: (1) the existence of a valid business relationship

    or expectancy that is not necessarily predicated on an enforceable contract, (2)

    knowledge of the relationship or expectancy on the part of the defendant

    interferer, (3) an intentional interference by the defendant inducing or causing a

    breach or termination of the relationship or expectancy, and (4) resulting

    damage to the party whose relationship or expectancy was disrupted.

         Individual Plaintiffs cannot establish any of these elements here. First,

    aside from a vague reference to “customers, event planners, etcetera that would

    typically use … Centre Park as a venue for … various engagements,” Individual

    Plaintiffs have never identified a specific contract or relationship they allege

    DEGC interfered with. (Exhibit 13, p. 187-193). Second, Individual Plaintiffs

    have never provided evidence DEGC had any knowledge of such a specific

    contract or relationship. (Id.). Third, Individual Plaintiffs have never provided

    evidence DEGC interfered with such a specific contract or relationship. (Id.).


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    Fourth, Individual Plaintiffs have never provided evidence such a specific

    contract or relationship was actually terminated. (Id.). Finally, even assuming

    Individual Plaintiffs could establish all of the other elements, they have never

    provided any evidence of damages arising from the termination of such a

    specific contract or relationship. (Id.). Accordingly, this Court should grant

    summary judgment on Count V of the Complaint because Individual Plaintiffs

    cannot establish the elements of tortious interference.

      F. This Court Should Grant Summary Judgment On Count VI
         (Trespass) Of The Complaint Because Individual Plaintiffs Cannot
         Establish The Necessary Elements

         Recovery for trespass to land in Michigan is available only upon proof of

    (1) an unauthorized (2) direct or immediate intrusion (3) of a physical, tangible

    object (4) onto land over which the plaintiff has a right of exclusive possession.

    Adams v. Cleveland-Cliffs Iron Co., 237 Mich. App. 51, 67, 602 N.W.2d 215

    (1999). Individual Plaintiffs, however, have not provided sufficient evidence to

    establish any unauthorized intrusions by DEGC at Centre Park Bar. First, it

    should again be noted DDA owns and leased the subject property to Centre Park

    Bar, not DEGC.       DEGC was nothing more than a nonprofit corporation

    contracted to undertake certain activities on behalf of DDA. Second, in any

    event, Individual Plaintiffs vaguely claim DDA’s property manager (Scott

    Harrison) accessed Centre Park Bar “countless” times for the purpose of


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    allowing appraisers to view the property, another tenant to access the basement,

    and contractors to work on the premises. (Exhibit 14, p. 93-96). But even

    assuming Individual Plaintiffs’ testimony is true, the Lease expressly allowed

    access for these purposes (among others):

               [Centre Park Bar] shall permit [DDA], and [DDA], its
               representatives, agents, contractors and subcontractors
               [i.e., DEGC and Scott Harrison] shall have the right, to
               enter the Premises at all reasonable times for the
               purposes of (a) inspecting the Premises or the Building,
               (b) maintaining the Premises or the Building, (c) making
               repairs, alterations or additions to the Premises or the
               Building and improvements on the Land, or (d)
               performing any obligations of [DDA] under this Lease.
               [DDA] may show the Premises to prospective
               purchasers, mortgagees and (during the final six (6)
               months of the term) tenants and may display about the
               Premises signs advertising the availability of the
               Premises.

    (Exhibit 5, § 15.1). Given the above, Individual Plaintiffs have simply not

    provided “‘sufficient evidence favoring [them] for [the Court] to return a verdict

    for [them].’” Celotex Corp., 477 U.S. at 325 (quoting Anderson, 477 U.S. at

    249-50 (1986). Accordingly, this Court should grant summary judgment on

    Count VI of the Complaint because Individual Plaintiffs cannot establish the

    elements of a trespass.

      G. This Court Should Grant Summary Judgment On Counts VII and IX
         (Claims For Relief) Of The Complaint Because Individual Plaintiffs
         Cannot Establish The Necessary Elements



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         Counts VII and IX of the Complaint each purport to state claims for relief,

    rather than causes of action. (Complaint, p. 22-26). Count VII purports to state

    a claim for injunctive relief. (Id. at p. 22-23). Count IX purports to state a claim

    for entitlement to attorney’s fees under 42 U.S.C. § 1988. (Id. at p. 30). These

    “claims” are actually requests for remedies and not affirmative causes of action.

    See Hall v. Wooten, 506 F.2d 564, 568 (6th Cir. 1974) (“We have held that

    section 1988 does not create federal causes of action for violation of civil

    rights.”) and Young v BAC Home Loans Servicing, LP, 2012 WL 72299, *4

    (E.D. Mich. Jan. 10, 2012) (“Injunctive relief is not a separate cause of action,

    but rather a type of relief the court may grant.”). They instead depend upon the

    success of the underlying federal and state claims. See Young, supra (“It is not

    the remedy that supports the cause of action, but rather the cause of action that

    supports the remedy.”) (internal quotations and citations omitted).        For the

    reasons discussed above, however, those underlying claims all fail, and so must

    the related claims for relief.    Accordingly, this Court should also dismiss

    Individual Plaintiffs’ claims in Counts VII and IX of the Complaint because

    Individual Plaintiffs cannot establish the claims underlying them.

      II. In The Event This Court Dismisses Counts I, II, And III (Federal
          Claims), This Court Should Nonetheless Retain Jurisdiction Over
          Counts IV, V, And VI (State Claims)




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         In the event this Court dismisses Counts I, II, and III (federal claims), this

   Court should nonetheless retain jurisdiction over Counts IV, V, and VI (state

   claims).   A district court has broad discretion to retain jurisdiction over

   supplemental claims. Gamel v. City of Cincinnati, 625 F.3d 949, 951 (6th Cir.

   2010). In determining whether to retain jurisdiction over such claims, a district

   court should consider and weigh several factors, including the values of judicial

   economy, convenience, fairness, and comity. Id. (citing Carnegie–Mellon Univ.

   v. Cohill, 484 U.S. 343, 350 (1988) (quotations omitted)). While the balance of

   factors often points to dismissing state claims when federal claims have been

   dismissed before trial, “[t]here are … circumstances where a district court should

   retain supplemental jurisdiction even if all of the underlying federal claims have

   been dismissed.” Id. at 952.

         For example, the Sixth Circuit has “found that the following factors

   weighed in favor of retaining supplemental jurisdiction over the remaining state-

   law claims: (1) the plaintiff had engaged in forum manipulation by deciding to

   dismiss his federal-law claims only after the case had been on the district court’s

   docket for 11 months, (2) the parties had completed discovery, and (3) the

   defendants’ summary-judgment motions were ripe for decision.” Gamel, 625

   F.3d at 952 (citing Harper v. AutoAlliance Intern., Inc., 392 F.3d 195 (6th Cir.

   2004)). The Sixth Circuit also noted the importance of a district court being


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   “‘familiar with the facts of the case’” after having “‘invested significant time in

   the litigation’” and “‘avoiding a multiplicity of litigation.’” Id. (quoting Harper,

   supra and Landefeld v. Marion Gen. Hosp., Inc., 994 F.2d 1178, 1182 (6th Cir.

   1993)).

         These factors counsel in favor of retaining jurisdiction here. First, the

   parties’ completed nineteen months of discovery more than six months ago. This

   case was filed by Plaintiffs on November 19, 2016. See ECF Doc. No. 1. The

   parties were allowed to conduct fact discovery until April 30, 2018, and expert

   discovery until June 29, 2018. See ECF Doc. No. 113 and 143. Individual

   Plaintiffs should not be rewarded with the opportunity to conduct additional

   discovery through new litigation in another forum because they failed to meet

   their burden of establishing their federal claims. Indeed, the prejudice to DEGC

   from such a result is obvious given Individual Plaintiffs’ extensively documented

   failures to participate in, and comply with, discovery in this case. See e.g., ECF

   Doc. No. 201.

         Second, dispositive motions challenging Individual Plaintiffs’ state claims

   are ripe for decision. Meritorious arguments attacking Individual Plaintiffs’ state

   claims have been advanced in this motion and a separately filed motion for

   dismissal. Third, this Court is extremely familiar with the facts in this case and

   has invested significant time in the litigation. This case began more than two


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   years ago. See ECF Doc. No. 1. There have been more than two hundred

   documents filed.    This Court has resolved a litany of discovery disputes, a

   factually intensive dispositive motion for dismissal as a sanction, and conducted

   numerous conferences with the parties. Fourth, retaining jurisdiction over the

   state law claims will avoid a multiplicity of litigation. There has already been

   extensive litigation arising from these underlying facts involving Plaintiffs,

   DEGC, and DDA in this Court, United States Bankruptcy Court, and the Circuit

   Court of Wayne County. If the Court now declines to retain jurisdiction over

   Individual Plaintiffs’ state law claims, they will certainly file them in Wayne

   county, which will begin this frivolous and costly litigation again. Principles of

   judicial economy, fairness, and convenience all strongly counsel against allowing

   this to occur. Accordingly, in the event this Court dismisses Counts I, II, and III

   (federal claims) of the Complaint, it should nonetheless retain jurisdiction over

   Counts IV, V, and VI (state claims).

   III. This Court Should Dismiss All Of Individual Plaintiffs’ Claims Against
        DEGC Because Of Individual Plaintiffs’ Contumacious Disregard For
        This Court’s Orders

         In the event this Court does not grant summary judgment on all of

    Individual Plaintiffs’ claims, this Court should nonetheless dismiss any

    remaining claims as a sanction for Individual Plaintiffs’ contumacious disregard

    of this Court’s orders. A substantial factor underlying this Court’s reason for


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    dismissing Individual Plaintiffs’ claims as a sanction against DDA was

    Individual Plaintiffs’ failure to respond to discovery requests – despite false

    representations by Individual Plaintiffs’ counsel, orders from the Court, and

    even specific admonishment warning of dismissal. See ECF Doc. No. 201, p. 5-

    6, 10-11. Those discovery requests were jointly served by DDA and DEGC.

    (See Discovery Requests, attached as Exhibit 16).           In other words, DEGC

    suffered the same prejudice arising from Individual Plaintiffs’ failure to respond

    to those requests, including all the related conferences, motions, and hearings.

    This prejudice also created a “‘substantial amount of otherwise unnecessary

    attorney’s fees and costs’” for DEGC as well. See ECF Doc. No. 201, p. 13.

    Accordingly, for the same reasons it dismissed all claims against DDA, this

    Court should dismiss any remaining claims as a sanction for Individual

    Plaintiffs’ contumacious disregard of this Court’s orders.

         WHEREFORE, Defendant            Detroit     Economic     Growth     Corporation

    respectfully requests that, in accordance with Federal Rules of Civil Procedure

    56, 37, and 41, this Court grant summary judgment on, or dismiss as a sanction,

    Plaintiffs Gwendolyn Williams’s, Christopher Williams’s, and Kenneth Scott

    Bridgewater’s claims in their Second Amended Complaint.

                                                   Respectfully submitted,
                                                   KOTZ SANGSTER WYSOCKI P.C.

    Dated: January 4, 2019               By:       /s/ Jeffrey M. Sangster

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                       UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

    GWENDOLYN WILLIAMS;
    CHRISTOPHER WILLIAMS; AND
    KENNETH SCOTT
    BRIDGEWATER, ET AL.,

         Plaintiffs,                             Case No. 16-cv-14112
                                                 Hon. Laurie J. Michelson
    v.                                           Mag. Judge Anthony P. Patti

    DETROIT ECONOMIC
    GROWTH CORPORATION; ET AL.,

         Defendants.


      PATERSON LAW FIRM                       KOTZ SANGSTER WYSOCKI P.C.
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                             CERTIFICATE OF SERVICE

         I hereby certify that, to the best of my information, knowledge, and belief,
    and on the 4th day of January, 2019, I electronically filed the foregoing
    pleadings with the Clerk of the Court using the ECF system, which will send
    notification of, and serve, such filing to all counsel of record.


                                               /s/ Lindsey Pfund




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             EXHIBIT 9
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   Lotus Industries, LLC d/b/a Centre Park
   Bar, Gwendolyn Williams, Christopher
   Williams, and Kenneth Scott Bridgewater,

           Plaintiffs,                                  Case No. 16-14112

   -vs-                                                 Judge Laurie J. Michelson

   Michael Duggan, in his official capacity
   as Mayor of the City of Detroit, Detroit
   Economic Growth Corporation, City of Detroit
   Downtown Development Authority, Marshall
   Bullock, in his official capacity as an appointee
   of Mayor Mike Duggan, Police Chief James Craig,
   in his official capacity as Chief of Police for the City
   of Detroit, Officer R. Harris, in his official capacity
   as Detroit Police Officer, and Cpt. Kevin Harris, in his
   official capacity as a Captain of the Detroit Fire Department,

           Defendants.

    Andrew Paterson (P18690)                  James D. Noseda (P52563)
    Attorney for plaintiffs                   City of Detroit Law Department
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    Phone: (248) 568-9712                     Bullock, R. Harris and K. Harris (sued
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                                              Phone: (313) 237-3057
                                              Email: nosej@detroitmi.gov




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    Jeffrey M. Sangster (P30791)                  Reginald M. Turner, Jr. (P40543)
    Christopher A. Ferlito (P80574)               Christopher M. Trebilcock (P62101)
    Kotz Sangster Wysocki, P.C.                   CLARK HILL PLC
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    Detroit Economic Growth Corporation           Bullock, R. Harris and K. Harris (sued
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                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

           Detroit Mayor Michael Duggan, Detroit Police Department Chief James

   Craig, Marshall Bullock, Detroit Police Department Officer R. Harris and Detroit

   Fire Department Captain K. Harris (sued in their official capacities), as well as the

   City of Detroit (collectively referred to as the “Defendant”), by and through its

   undersigned attorneys, move pursuant to Federal Rules of Civil Procedure 56, for

   summary judgment of the above-captioned litigation on Counts I, III, VIII & IX of

   the Plaintiffs’ Gwendolyn Williams, Christopher Williams, and Kenneth Scott

   Bridgewater’s Second Amended Complaint, for the reasons set forth in the

   following brief in support.




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                                             Respectfully submitted,

                                             CLARK HILL PLC

                                             By: /s/Reginald M. Turner, Jr.
                                             Reginald M. Turner, Jr. (P40543)
                                             Christopher M. Trebilcock (P62101)
                                             CLARK HILL PLC
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   Lotus Industries, LLC d/b/a Centre Park
   Bar, Gwendolyn Williams, Christopher
   Williams, and Kenneth Scott Bridgewater,

           Plaintiffs,                                  Case No. 16-14112

   -vs-                                                 Judge Laurie J. Michelson

   Michael Duggan, in his official capacity
   as Mayor of the City of Detroit, Detroit
   Economic Growth Corporation, City of Detroit
   Downtown Development Authority, Marshall
   Bullock, in his official capacity as an appointee
   of Mayor Mike Duggan Police Chief James Craig,
   in his official capacity as Chief of Police for the City
   of Detroit, Officer R. Harris, in his official capacity
   as Detroit Police Officer, and Cpt. Kevin Harris, in his
   official capacity as a Captain of the Detroit Fire Department,

           Defendants.

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    Phone: (248) 568-9712                     Bullock, R. Harris and K. Harris (sued
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                    BRIEF IN SUPPORT OF DEFENDANTS’ MOTION
                             FOR SUMMARY JUDGMENT




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                                     ISSUES PRESENTED

       A. Should this Court grant summary judgment on Counts I & VIII (first
          amendment retaliation) of the Second Amended Complaint in Defendant’s1
          favor because Individual Plaintiffs2 cannot establish the necessary elements
          and/or establish a custom or policy of the City of Detroit was a driving force
          behind the alleged deprivation of rights?

                   Defendant:                      Yes.
                   Individual Plaintiffs:          No.

            B.     Should this Court grant summary judgment on Count III (equal
            protection) of the Second Amended Complaint in Defendant’s favor
            because Individual Plaintiffs cannot establish the necessary elements
            and/or establish a custom or policy of the City of Detroit was a driving
            force behind the alleged deprivation of rights?

                   Defendant:                      Yes.
                   Individual Plaintiffs:          No.
       D. Should this Court grant summary judgment on Count IX (claim for court
          costs and attorney fees) of the Second Amended Complaint in Defendant’s
          favor because Individual Plaintiffs cannot establish the claim underlying it?

                   Defendant:                      Yes.
                   Individual Plaintiffs:          No.




   1
     The term “Defendant” collectively refers to the following parties who filed the
   current motion and brief in support: Detroit Mayor Michael Duggan (“Mayor
   Duggan”), Detroit Police Department Chief James Craig (“DPD Chief Craig”),
   Marshall Bullock (“Mr. Bullock”), Detroit Police Department Officer Robert
   Harris (“DPD Ofc. Harris”) and Detroit Fire Department Captain Kelvin Harris
   (“DFD Capt. Harris”) who were all sued in their official capacities, as well as the
   City of Detroit.
   2
     The term “Individual Plaintiffs” collectively refers to: Gwendolyn Williams,
   Christopher Williams, and Kenneth Scott Bridgewater.
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                              CERTIFICATION UNDER LR 7.1(A)

   There was a conference between attorneys or unrepresented parties and other
   persons entitled to be heard on the motion in which the movant explained the
   nature of the motion or request and its legal basis and requested but did not obtain
   concurrence in the relief sought.




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                                    INTRODUCTION

           On September 29, 2017, Individual Plaintiffs and the entity they own and

   control, Plaintiff Lotus Industries, LLC d/b/a Centre Park Bar (“Centre Park Bar”)

   (collectively “Plaintiffs”), filed their Second Amended Verified Complaint for

   Declaratory Judgment and Injunctive Relief (“Complaint”). The Complaint

   primarily alleges a conspiracy by two entities and five individuals to retaliate

   against Plaintiffs for purportedly exercising their First Amendment rights. In

   addition, the Complaint blindly alleges the Defendant unequally enforced its noise

   and capacity ordinances against the Plaintiffs due to their race. The Complaint

   contains four counts against the Defendant: First Amendment Retaliation—Counts

   I & VIII; Equal Protection—Count III; and Attorney’s Fees—Count IX. The Court

   should grant summary judgment in Defendant’s favor on all of them.

           First, Individual Plaintiffs cannot establish Defendant retaliated against them

   for allegedly exercising their First Amendment rights because: (a) they cannot

   establish a temporal proximity between their communications with Defendant’s

   officials and the intervening hotel complaints; (b) they have failed to provide any

   concrete evidence that the Defendant had a retaliatory motive for issuing noise

   ordinance citations to the Individual Plaintiffs or purportedly harassing Centre Park

   Bar patrons; and (c) they have failed to establish any unlawful City custom, policy,

   or practice. Second, Individual Plaintiffs cannot establish Defendant denied them


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   equal protection of the law because there is no evidence the Individual Plaintiffs’

   business (i.e., Centre Park Bar) was treated differently than similarly situated

   businesses. Third, Individual Plaintiffs cannot, in any event, establish any of their

   42 U.S.C. § 1983 claims because there is no evidence a custom or policy of the City

   of Detroit was the driving force behind the alleged deprivations of constitutional

   rights. Finally, no cause of action exists for a claim for attorney's fees under 42

   U.S.C. § 1988. Accordingly, this Court should grant summary judgment in

   Defendant’s favor on all counts of Individual Plaintiffs Complaint.3

                                  LEGAL STANDARD

           Summary judgment is appropriate “if the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with affidavits, if any, show that

   there is no genuine issue of material fact and that the moving party is entitled to a

   judgment as a matter of law.” FED. R. CIV. P. 56(C). All “inferences to be drawn

   from the underlying facts . . . must be viewed in the light most favorable to the

   party opposing the motion.” United States v Diebold, Inc., 369 U.S. 654, 655

   (1962). Summary judgment must be granted if the opposing party “fails to make a

   showing sufficient to establish the existence of an element essential to . . . [his or

   her] case, and on which . . . [he or she] will bear the burden of proof at trial.”


   3
     This motion does not request any relief against Centre Park Bar because, on
   November 9, 2018, this Court dismissed all claims made by Centre Park Bar in
   their entirety, with prejudice. (See ECF Doc. No. 208).
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   Celotex Corp. v Catrett, 477 U.S. 317, 322 (1986). If “a reasonable jury could

   return a verdict for the nonmoving party,” summary judgment must be denied.

   Anderson v Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). It is insufficient,

   however, simply to show “that there is some metaphysical doubt as to the material

   facts.” Matshushita Elec. Indus. Co. v Zenith Radio Corp., 475 U.S. 574, 586

   (1986). “[T]he mere existence of a scintilla of evidence in support of the plaintiff's

   position will be insufficient; there must be evidence on which the jury could

   reasonably find for the plaintiff.” Anderson, 477 U.S. at 252; Abdulnour v

   Campbell Soup Supply Co., LLC, 502 F.3d 496, 501 (6th Cir. 2007).

                              STATEMENT OF UNDISPUTED FACTS

           A.       PARTIES
           Centre Park Bar is a limited liability company organized under the laws of

   the State of Michigan, whose principal place of business is located within 1407

   Randolph Street, Detroit, Michigan 48226 (the “Property”), which is in the

   Harmonie Park section of downtown Detroit, and which is now called the Paradise

   Valley Cultural and Entertainment District. (Def. Answer ¶14). Gwendolyn

   Williams (“G. Williams”), Christopher Williams (“C. Williams”), and Kenneth

   Scott Bridgewater (“Bridgewater”) are the owners/operators of Centre Parke Bar.

           Mayor Duggan is the duly elected Mayor of the City of Detroit and is a

   member of the Defendant City of Detroit Downtown Development Authority’s


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   (“DDA”)4 Board of Directors. (Def. Answer ¶18). Mr. Bullock is a mayoral

   appointee of Mayor Duggan and also served as a member of the DDA’s Paradise

   Valley Evaluation Committee (“PV”). (Def. Answer ¶21).

             B.     THE CENTRE PARK BAR LEASE AND CITY-ISSUED PERMITS

             On August 19, 2013, DDA and Centre Park Bar executed a lease (“Lease”)

   for the Property. (See ECF No. 48-1). The Lease contains a “Use of Premises”

   section. (Id. at §§ 7.1-7.5). The Use of Premises section contains restrictions,

   which describe and limit how Centre Park Bar may use the Property. (Id.). The first

   three sentences of the Use of Premises section state:

             [Centre Park Bar] shall use and occupy the Premises during the
             continuance of this Lease solely for the Designated Use set forth in
             Section 1.15 hereof, and for no other purpose or purposes without the
             prior written consent of [DDA]. [Centre Park Bar] shall not construct
             or install a dance floor in the Premises. [Centre Park Bar] shall not
             operate a night club, dance hall, disco or other similar establishment
             in the Premises.

   (Id. at § 7.1) (emphasis added). The sole “Designated Use” is for a “[r]estaurant”

   with liquor sales that do not exceed forty percent (40%) of the gross sales

   generated by Centre Park Bar. (Id. at § 1.15). The Use of Premises section also

   states:

             [Centre Park Bar] shall not use or permit any person to use the
             Premises in any manner which violates or would create liability
   4
     DDA was a defendant to the current suit, but this Court dismissed all claims
   against the DDA with prejudice as a discovery sanction against Plaintiffs on
   October 12, 2018. (See ECF No. 201 & 202).
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           under federal, state or local laws, ordinances, rules, regulations or
           policies.

   The Use of Premises and Designated Use provisions were meant to ensure the

   Property was primarily used for dining, not as a nightclub or venue for live

   entertainment. (See ECF No. 48-1).

           Centre Park Bar also sought and obtained a permit from the City of Detroit

   to operate an “outdoor café” on City of Detroit property adjacent to the leased

   space at the Property. (Café Permit attached as Exhibit A; see ECF No. 48-13). The

   permit, as approved by the City, allowed for tables and chairs in a partially

   enclosed space across the public sidewalk from the restaurant. (Exhibit A). The

   permit limited use from April to November, required closing at 1:00 A.M., had

   designated entrances/exits, required that the sidewalk not be obstructed, prohibited

   use of a portable bar, and required compliance with the City of Detroit’s noise

   ordinance. (Exhibit A; see ECF No. 48-13). Similar outdoor cafes are permitted by

   the City around the downtown area. (See ECF No. 48-13).

       C. PLAINTIFFS WERE LESS THAN IDEAL TENANTS

           During the Lease, Plaintiffs were less than ideal tenants and neighbors as

   they illegally operated a dance club, nightclub and cabaret on City-owned property

   adjacent to the Property for which the only allowed use is to serve food and drinks.

   (See ECF No. 48-1 and -6 to -10; Exhibit A).



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           For example, on June 26, 2016, a hotel patron named Tamala Joyner at the

   Hilton Garden Inn Downtown Detroit (“Hilton”), which is within 400 feet of the

   Property (ECF No. 48-3), called 911 shortly after midnight due to loud music. (¶3

   of the attached Affidavit of David Kipfmiller, signed 12/15/18, Exhibit B

   (“hereafter DK Aff. ¶___”)). A few days later, Hilton filed its own complaint with

   the City of Detroit about loud music playing on a big sound system on a patio

   outside the Property. (DK Aff. ¶4). Over the course of the next three (3) months,

   Mr. Kipfmiller (Hilton’s general manager) and the Detroit Police Department tried

   to resolve the late night noise issues at the Centre Park Bar through early Fall

   2016, which resulted in five (5) additional 911 calls by Hilton guests in less than

   three months. (See attached Exhibit C (records of five (5) 911 calls by Hilton

   guests complaining about the noise at Centre Park Bar between July 27, 2016 and

   September 18, 2016)).

           The issues, however, did not end as the City of Detroit received twenty (20)

   more late night noise complaints about Centre Park Bar between October 2016 and

   August 2017. (DK Aff. ¶¶7-12; see attached Exhibit D (20 subsequent noise

   complaints between October 2016 and August 2017 about Centre Park Bar from

   other Hilton guests)). As a result, on August 29, 2017, the City of Detroit and DDA

   were able to successfully enjoin the Plaintiffs from violating the City of Detroit

   noise ordinance (Detroit, Mich., City Code §§ 36-1-1 to -1-6) and prohibit live and


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   amplified DJ music on the patio outside of the Property, pursuant to an Order for

   Preliminary Injunction and Immediate Abatement of Nuisance (“Nuisance

   Abatement Order”) from (then) Chief Judge of the Circuit Court of Wayne County,

   Robert J. Colombo, Jr. (See Nuisance Abatement Order, attached as Exhibit E; see

   also Transcript of Preliminary Injunction Hearing at 6:5-:25, 7:12-:22, and 9:11-

   :15, attached as Exhibit F).

       D. INDIVIDUAL PLAINTIFFS PETITIONED FOR SPECIAL TREATMENT AFTER
           THEIR PROPOSAL WAS REJECTED         FOR   BEING LATE (JUST LIKE ALL
           OTHER UNTIMELY SUBMISSIONS)
         In the Fall of 2015, the DDA invited bids for the purchase and development

   of a number of DDA buildings and property in Harmonie Park (including of 1407

   Randolph, the Property). The deadline to submit bids was November 11, 2015 at

   3:00 p.m. (See Deposition of Kenneth Scott Bridgewater at 24:25 to 27:23,

   attached as Exhibit G). It is undisputed that Centre Park Bar and its

   owners/operators (i.e., the Individual Plaintiffs) submitted a bid to the DDA after

   the deadline, and that their late bid was rejected along with the two bids also

   submitted after the deadline. (See Id.; Complaint ¶ 34). Between December 2015

   and February 2016, G. Williams and C. Williams exchanged emails and met with

   City officials to complain that their bid had been rejected by the DDA. (See the

   relevant e-mails attached as Exhibit H). In response to G. Williams and C.

   Williams’ claimed fear of losing the Lease with the DDA, the City offered to help


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   locate another place for the Centre Park Bar. (See Exhibit H (Thomas Lewand e-

   mail on 12/22/2015 and G. Williams e-mail on 2/9/2016); Deposition of

   Gwendolyn Williams on 3/16/18 at 47:1-48:4, attached as Exhibit I). That offer

   was never taken.

         On June 29, 2016, Mayor Duggan and DDA officials announced the

   successful bidders for the development of Harmonie Park, rechristened as the

   Paradise Valley Entertainment District. (See ECF No. 48-14).

       E. INDIVIDUAL PLAINTIFFS FAILED TO PROVIDE ANY ADMISSIBLE EVIDENCE
          TO SUPPORT THE SUMMER 2016 NOISE ORDINANCE CITATIONS (OR ANY
          OTHER CITATIONS) WERE RETALIATORY OR PART OF ANY
          “CONSPIRACY.”

           On May 30, 2016, the City Fire Department’s Fire Marshall Division was

   summoned to the Centre Park Bar by the Detroit Police Department to address a

   large crowd complaint. (See the Fire Marshall Reports attached as Exhibit J

   (specifically the May 30, 2016 report)). While the police had controlled and

   dispersed the crowd before DFD Lt. Edward Davis arrived, he discovered that

   Centre Park Bar did not have occupancy cards for the inside bar or outdoor café

   space required for all places of public assembly. (Id.). The Detroit Fire Code

   requires that occupancy cards issued by the Fire Marshall be posted at all places of

   public assembly, and requires that the owner/operator ensure that the occupancy

   limits are not exceeded. (Detroit, Mich., City Code §§ 8-1.1.1 & -1.1.3 to -1.1.4).



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           As discussed before in Section C, Hilton guests (separated from Centre Park

   Bar by only a narrow two-lane road) raised a number of noise complaints against

   Centre Park Bar all throughout the summer of 2016, which resulted in frequent

   visits and the occasional noise ordinance citation by the Detroit Police Department.

   (See Exhibit C and DK Aff. ¶¶ 4-8). However, it is undisputed that the Individual

   Plaintiffs have not produced one admissible piece of evidence to corroborate their

   belief that the Defendant was involved in a conspiracy to have individuals file

   noise complaints against Centre Park Bar or noise ordinance citations issued to

   Individual Plaintiffs. (See Complaint ¶¶53-55, 80-82, and 85). For example,

   Individual Plaintiffs have failed to corroborate any of their allegations (see id.

   ¶¶44-45 & 71-72) related to the noise ordinance citation DPD Lt. Ilaseo Lewis

   (“DPD Lt. Lewis”) issued C. Williams on August 6, 2016. (See Noise Ordinance

   Violation Citations attached as Exhibit K). Instead, Defendant has provided

   evidence that despite the Fire Marshall discovering no occupancy card posted in

   the café area that same night, the Fire Marshall responded by returning on August

   17, 2016 to survey the interior bar and outdoor café space of Centre Park Bar to

   determine the lawful occupancy load, and provide C. Williams with instruction on

   the use of “clickers” to monitor occupancy. (See Exhibit J).




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          F. BRIDGEWATER WAS ARRESTED ON JULY 23, 2017 FOR OBSTRUCTING A
             FIRE OFFICIAL SINCE HE REFUSED TO CLOSE THE OVERCROWDED AND
             UNMONITORED OUTDOOR AREA
              On July 23, 2017, DFD Capt. Harris was called to the Centre Park Bar to

   investigate a complaint of overcrowding on the Property. (See DFD Capt. Harris

   report dated 7/23/17 within Exhibit J; Deposition of DFD Capt. Kelvin Harris5 on

   2/12/18 at 14:25-15:6, attached as Exhibit L). DFD Capt. Harris made contact with

   Bridgewater, who identified himself as management, upon entering the Property at

   or around 12:40 A.M. (Exhibit J; Exhibit L at 19:19-:23). DFD Capt. Harris asked

   Bridgewater how many people were admitted within the outdoor area of the bar,

   but he did not know. (Exhibit J; see Exhibit L at 19:4-14). DFD Capt. Harris also

   asked Bridgewater to show him the occupancy card for the outdoor space, but

   Bridgewater was unable to show the card was posted (or even provide the card at

   that point in time). (Exhibit J; Exhibit L at 19:24-20:9). DFD Capt. Harris

   explained that the occupancy card posting was a requirement of the Centre Park

   Bar’s outdoor cafe permit, but also necessary for the bar to determine (on its own)

   whether it was exceeding the authorized capacity levels. (See Exhibit J; Detroit,

   Mich., City Code §§ 8-1.1.1 & -1.1.4). Bridgewater left to get the “owner,” C.

   Williams; upon their return, DFD Capt. Harris explained that the lack of an

   occupancy card and knowledge of the exact number of people meant they would


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       The transcript incorrectly listed DFD Capt. Harris’ first name as “Calvin.”

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   all have to vacate the Property’s premises. (Exhibit J; Exhibit L at 17:15-:20). DFD

   Capt. Harris assured C. Williams that his decision was necessary for everyone’s

   safety. (See Exhibit J). At around 1:00 A.M., C. Williams used the disk jockey’s

   microphone to announce that all patrons needed to evacuate the premises. (Exhibit

   L at 26:14-:25; see Exhibit J).

           A few minutes later, Bridgewater approached DFD Capt. Harris with a

   purportedly valid occupancy card and claimed the bar no longer needed to be

   closed. (See Exhibit J; Exhibit L at 18:4-:6). DFD Capt. Harris however explained

   that it was too late to reverse his order and that he still had not been furnished with

   the number of people already admitted. (See Exhibit J; Exhibit L at 19:4-:14).

   Bridgewater told the DJ to start the music again and he personally used the DJ’s

   microphone to announce that the bar was not closing. (Exhibit L at 22:11-:15; see

   Exhibit J). DFD Capt. Harris then ordered the DJ to turn the music off, but the DJ

   refused because Bridgewater was paying him. (See Exhibit J; Exhibit L at 26:6-:9).

   DFD Capt. Harris approached C. Williams with same order, but he ignored DFD

   Capt. Harris. As a result, DFD Capt. Harris went and spoke with DPD Ofc. Harris

   (he was posted outside of the Property at the time (see DPD Ofc. Harris report on

   arrest of Bridgewater, attached as Exhibit M; Exhibit L at 22:6-:19)) to report that

   the Centre Park Bar proprietors were being uncooperative, and for public safety

   was requiring the venue to cease outdoor operations. (See Exhibit J).


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           DPD Ofc. Harris then asked Bridgewater and C. Williams to turn off the

   music and vacate the premises, but they both refused. (See Exhibits J & M). DPD

   Ofc. Harris then explained that obstructing a fire official was an arrestable offense.

   (Exhibit M). DPD Ofc. Harris asked Bridgewater and C. Williams to comply with

   DFD Capt. Harris’ order, but Bridgewater refused and told DPD Ofc. Harris to

   write him a ticket, but the bar would not close. (Id.). Despite DPD Ofc. Harris

   warning about a possible arrest, Bridgewater then stated "arrest me then" and

   turned around and put his hands behind this back. (Id.). DPD Ofc. Harris gave

   Bridgewater one more chance to comply, but he refused and thus DPD Ofc. Harris

   arrested Bridgewater for obstructing a fire official by failing to comply with DFD

   Capt. Harris’ order to close. (See Exhibit M; Deposition of DPD Ofc. Robert

   Harris on 2/12/18 at 19:24-21:4, attached as Exhibit N). C. Williams then used the

   DJ’s microphone to announce yet again that everyone needed to vacate the outdoor

   area because it was deemed unsafe due to overcrowding. (See Exhibit J). It is

   undisputed that DPD Ofc. Harris alone decided to arrest Bridgewater. (See Exhibit

   L at 23:3-:5; Exhibit N at 19:24-21:4).




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                                LEGAL ARGUMENT

   I.      This Court Should Grant Summary Judgment on Counts I and VIII
           (First Amendment Retaliation) of the Complaint Because the Individual
           Plaintiffs Have Failed to Provide Anywhere Near Enough Evidence to
           Create Genuine Issues of Material Fact on Causal Connection and/or
           the Existence of a City Custom, Plan, or Policy

           To establish a First Amendment Retaliation claim under 42 U.S.C. §1983,

   the Individual Plaintiffs must show that: (1) they engaged in protected conduct; (2)

   an adverse action was taken against them that would deter a person of ordinary

   firmness from continuing to engage in that conduct; and (3) there is a causal

   connection between elements one and two—that is, the adverse action was

   motivated at least in part by the plaintiff's protected conduct. Thaddeus–X v

   Blatter, 175 F.3d 378, 394 (6th Cir. 1999) (en banc); see also Ctr. for Bio–Ethical

   Reform, Inc. v Napolitano, 648 F.3d 365, 372 (6th Cir. 2011) (“Although much of

   our First Amendment retaliation jurisprudence addresses claims by public

   employees and prisoners, the same legal framework applies where, as here, private

   parties challenge governmental action.”). Note however that since the Individual

   Plaintiffs only brought their claims brought against Defendant’s officials in their

   official capacities, the City of Detroit is the only true defendant. See Alkire v

   Irving, 330 F.3d 802, 810 (6th Cir. 2003) (citing and quoting Kentucky v Graham,

   473 U.S. 159, 165 (1985)); see also Lambert v Hartman, 517 F.3d 433, 439–40

   (6th Cir. 2008). Therefore, the Individual Plaintiffs First Amendment Retaliation


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   claims are contingent upon the Individual Plaintiffs proving that their

   constitutional deprivation occurred pursuant to a municipal “policy or custom.”

   Flagg v. City of Detroit, 715 F.3d 165, 174-75 (6th Cir. 2013) (citations and

   quotations omitted).

           The Defendant is entitled to judgment on both of the Individual Plaintiffs’

   First Amendment Retaliation claims because: (a) in Count I the Individual

   Plaintiffs have failed to provide any evidence of a City custom or policy and/or to

   establish any causal connection between any protected conduct and an adverse

   action; and (b) in Count VIII DPD Ofc. Harris had probable cause for arresting

   Bridgewater for obstructing a fire official as he refused to close the bar as ordered

   due to overcrowding and missing permits.

           A.       DEFENDANT   IS ENTITLED TO SUMMARY JUDGMENT ON COUNT I
                    BECAUSE NO CAUSAL CONNECTION CAN BE ESTABLISHED NOR A CITY
                    CUSTOM, POLICY OR PRACTICE THAT WAS THE DRIVING FORCE
                    BEHIND THE ALLEGED DEPRIVATIONS OF RIGHTS.

           Individual Plaintiffs claim Defendant took adverse action against them for

   publicly criticizing the RFP process by: (1) issuing noise citations to Plaintiff, and

   (2) harassing Centre Park Bar patrons. (Complaint ¶¶2, 56-83 & 140-146).

   Assuming arguendo that a genuine issue of material fact exists on whether the

   Individual Plaintiffs engaged in protected activity and whether an adverse action

   (as understood within the First Amendment retaliation context) was taken against

   them, there is no evidence to support a causal connection between any purported

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   protected activity and the claimed adverse actions (i.e., a retaliatory motive or

   temporal proximity), let alone a pivotal City custom, policy, or practice.

           First, the Individual Plaintiffs have failed to provide any concrete evidence

   that the Defendant had a retaliatory motive for issuing noise ordinance citations to

   the Individual Plaintiffs or purportedly harassing Centre Park Bar patrons. “[B]are

   allegations of malice [do] not suffice to establish a constitutional claim” at the

   summary judgment stage. Vereecke v Huron Valley Sch. Dist., 609 F.3d 392, 400

   (6th Cir. 2010) (alterations in original) (quoting Crawford-El v Britton, 523 U.S.

   574, 588 (1998)). Moreover, the Individual Plaintiffs must be able to prove that the

   exercise of their claimed protected right was a substantial or motivating factor in

   the Defendant's alleged retaliatory conduct. See Smith v Campbell, 250 F.3d 1032,

   1037 (6th Cir. 2001) (citing Mount Healthy City Sch. Dist. Bd. of Educ. v Doyle,

   429 U.S. 274, 287 (1977)). Individual Plaintiffs may use circumstantial evidence to

   support an inference of retaliatory motive. See Harris v Bornhorst, 513 F.3d 503,

   520 (6th Cir. 2008). If the Individual Plaintiffs demonstrate that their “protected

   conduct was a motivating factor ... [,] the burden of production shifts to the

   defendant,” who must respond with legitimate reasons for his actions. Thaddeus-X,

   175 F.3d at 399 (citation omitted). “If the defendant can show that he would have

   taken the same action in the absence of the protected activity, he is entitled to

   prevail on summary judgment.” Id.


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           The Individual Plaintiffs have not pointed to one corroborated statement

   made by Defendant officials that would suggest City animus toward them or

   provided any evidence that the Individual Plaintiffs were treated differently than

   other, similarly situated individuals, because of the Individual Plaintiffs’ criticism

   of the RFP process. Even further the Individual Plaintiffs have failed to identify

   any specific similarly-situated individuals who were treated better. Instead

   Plaintiffs have merely speculated that “[n]o other bar or restaurant establishments

   in the immediate area have been subjected to the frequent constant police harassing

   visits that Centre Park Bar and the Plaintiffs have been subjected to” (Complaint

   ¶78).     Overall      Individual   Plaintiffs    only have   offered   speculation   and

   uncorroborated specious conspiracy theories about the Defendant officials’

   motives.

           In addition, no temporal proximity exists between any of the Individual

   Plaintiffs’ RFP process scrutiny or communications with City officials from

   December 2015 to February 2016, and the August 2016 noise ordinance ticket or

   the ambiguous purported harassment 6 months later. Further, the Individual

   Plaintiffs cannot rely on the June 2016 announcement of the RFP process bid

   winners (see ECF No. 48-14) to fabricate a temporal proximity because their

   conspiracy theories are uncorroborated and merely speculative (as discussed infra).

           Second and more importantly though, the Individual Plaintiffs failed to


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   provide any evidence that a City custom, policy, or practice to harass bar patrons

   or issue noise ordinance tickets in retaliation to RFP process scrutiny. The

   Individual Plaintiffs must show one of the following to prove this claim:

           (1) the existence of an illegal official policy or legislative enactment;
           (2) that an official with final decision making authority ratified illegal
           actions;
           (3) the existence of a policy of inadequate training or supervision; or
           (4) the existence of a custom of tolerance or acquiescence of federal
           rights violations.

           Burgess v Fischer, 735 F.3d 462, 478 (6th Cir. 2013) (citing Thomas v City

   of Chattanooga, 398 F.3d 426, 429 (6th Cir. 2005). “A municipality ‘may not be

   sued under § 1983 for an injury inflicted solely by its employees or agents.’ ” Id.

   (quoting Monell, 436 U.S. at 694). The Individual Plaintiffs did not provide any

   evidence to support its conclusory allegations of Defendant’s “practice of frequent

   visits by the police is to disrupt the events and to make patrons uncomfortable.”

   (Complaint ¶77). Instead Defendant’s produced ample evidence of valid noise

   complaints that financially impacted surrounding businesses. (See DK Aff. ¶¶13-

   19; Exhibits C-F & K). The Individual Plaintiffs’ allegation that “Lt. Lewis

   informed Plaintiff C. Williams at that time that he had been given a direct order to

   shut down Centre Park by Defendants Duggan and Chief Craig” fails since Plaintiff

   C. Williams has since admitted the absence of any documents “to support or prove”

   their claim “police officers” were “directed ... to harass the plaintiffs.” (See

   Deposition of Christopher Williams on 3/14/18 at 10:7-:20, attached as Exhibit O).

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   Further, the Individual Plaintiffs speculative allegation that Mr. Bullock told

   Bridgewater that “Centre Park’s patrons were not ‘the type of clientele’ the [ ]

   Mayor wanted in Downtown Detroit” and “that Centre Park would be evicted from

   the Property by January 2017 because it would be found in violation of its Lease”

   (Complaint ¶74), is nullified by the fact that: (a) Mr. Bullock obviously lacked

   final decision-making authority for the Defendant police or fire; and (b) Individual

   Plaintiffs were violating the Use of Premises and Designated Use provisions of the

   Lease by illegally operating a dance club, nightclub and cabaret on City-owned

   property adjacent to the Property for which the only allowed use is to serve food

   and drinks. (See ECF No. 48-1 (§§ 1.15 & 7.1-7.5) and -6 to -10; Exhibit A; DK

   Aff. ¶6; Exhibit P (photos of Nightclub events at the Centre Park Bar); see also

   Exhibits E & F). Lack of training/supervision by the City is not at issue. Finally no

   evidence was produced to remotely support the existence of a custom of tolerance

   or acquiescence of federal rights violations.

           The Individual Plaintiffs cannot rely on a civil conspiracy theory to establish

   a retaliatory motive or a City custom, policy, or practice to retaliate against RFP

   critics. Defendant did not conspire with anyone to issue noise citations to, or harass

   patrons at, Centre Park Bar. A civil conspiracy is an agreement between two or

   more persons to injure another by unlawful action. Memphis, Tennessee Area

   Local, American Postal Workers Union, AFL–CIO v City of Memphis, 361 F.3d


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   898, 905 (6th Cir. 2004). Express agreement among all the conspirators is not

   necessary to find the existence of a civil conspiracy and each conspirator need not

   have known all of the details of the illegal plan or all of the participants involved.

   Id. But a plaintiff must show “[a] there was a single plan, [b] that the alleged

   coconspirator shared in the general conspiratorial objective, and [c] that an overt

   act was committed in furtherance of the conspiracy.” Id. Significantly, conspiracy

   claims must be established with “some degree of specificity” and “vague and

   conclusory” assertions unsupported by material facts will not be sufficient to

   assert such a claim under § 1983. See Gutierrez v Lynch, 826 F.2d 1534, 1538 (6th

   Cir. 1987) (emphasis added).

           Here, while Individual Plaintiffs “believe” Defendant (Mayor Duggan and

   Chief Craig) “conspired” with Archer, DDA, DEGC, officers and others to retaliate

   against them (Complaint, ¶¶ 81-82), aside from their own convenient and

   speculative testimony, there has never been any evidence proffered supporting their

   allegation. There is no evidence of a singular plan between Defendant and others

   to ticket and harass Plaintiffs. There is no evidence Defendant shared some broader

   conspiratorial objective to dispossess Plaintiffs because of their alleged public

   criticisms of the RFP process. And there is no evidence the noise ordinance

   citations the Individual Plaintiffs received were merely pretextual acts in

   furtherance of some conspiracy.


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           Indeed, on August 29, 2017, (then) Chief Judge Colombo confirmed the

   legitimacy of the citations Centre Park Bar received by issuing his Nuisance

   Abatement Order. (See Exhibit F) (See also Exhibit D). After a multi-day

   evidentiary hearing, Judge Colombo specifically ordered the Plaintiff to

   “immediately abate the nuisance and ... enjoined [them] from any and all further

   violations of the Detroit noise ordinance....” (Exhibit E) (emphasis added). There

   are simply no pleadings, depositions, affidavits, answers to interrogatories, or

   admissions on file, which demonstrate – let alone with any specificity – Defendant

   participated in a conspiracy. See FED. R. CIV. P. 56. In fact, even the Individual

   Plaintiffs are aware they have nothing more than “vague and conclusory”

   assertions; they have admitted the absence of any documents “to support or prove”

   their claim “police officers” were “directed ... to harass the plaintiffs.” (Exhibit O

   at 9:24-10:22).

           B.       DEFENDANT  IS ENTITLED TO SUMMARY JUDGMENT ON COUNT VIII
                    BECAUSE NO CAUSAL CONNECTION CAN BE ESTABLISHED NOR A CITY
                    CUSTOM, POLICY OR PRACTICE THAT WAS THE DRIVING FORCE
                    BEHIND THE ALLEGED DEPRIVATIONS OF RIGHTS.

           Bridgewater claims he “was arrested in retaliation for simply exercising his

   First Amendment Right of Free Speech by requesting [DPD Ofc. Harris and DFD

   Capt. Harris] to count the number of attendees and for stating that the Defendants

   were retaliating against Plaintiffs for filing the instant federal lawsuit.” (Complaint

   ¶146). This count fails for the same reasons as Count I: (a) no evidence of an

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   unlawful City custom, policy or practice was provided; and (b) DPD Ofc. Harris

   had probable cause to arrest Bridgewater for obstructing a fire fighter because

   Bridgewater refused to comply with DFD Capt. Harris’ order to close due to

   missing permits and over occupancy (Bridgewater asked for a ticket instead, but

   clearly stated he refused to close) (see Exhibits J & M). See also City of Los

   Angeles v Heller, 475 U.S. 796, 799 (1986) (“If a person has suffered no

   constitutional injury at the hands of the [municipality’s] officer, the fact that the

   [policy, practice, or custom] might have authorized the use of constitutionally

   excessive force is quite beside the point.”). In addition, there is a reason why you

   typically see lines outside of popular nightclubs and other popular nightlife

   attractions; the Detroit Fire Code requires that the owner/operator ensure that the

   occupancy limits are not exceeded. See Detroit, Mich., City Code §§ 8-1.1.1 & -

   1.1.3 to -1.1.4.

           Accordingly, this Court should grant summary judgment on Counts I & VIII

   of the Complaint because the Individual Plaintiffs cannot establish the necessary

   elements of their First Amendment Retaliation claims.

   II.     This Court Should Grant Summary Judgment on Count III (Equal
           Protection) of the Complaint Because the Individual Plaintiffs Have
           Failed to Provide Anywhere Near Enough Evidence to Create Genuine
           Issues of Material Fact on the Existence of Similarly-Situated
           Individuals Who Were Treated Better Due to Their Class and/or the
           Existence of a City Custom, Plan, or Policy of Racist Application of the
           Fire Ordinance


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           “To state a claim under the Equal Protection Clause, a § 1983 plaintiff must

   allege that a state actor intentionally discriminated against the plaintiff because of

   membership in a protected class.” LRL Props. v Portage Metro Hous. Auth., 55

   F.3d 1097, 1111 (6th Cir. 1995) (quoting Henry v Metro. Sewer Dist., 992 F.2d

   332, 341 (6th Cir. 1990)). An Equal Protection claim must also show that

   differential treatment resulted from discriminatory intent. See Ryan v City of

   Detroit, 174 F. Supp. 3d 964, 972 (E.D. Mich. 2016). “To state an equal protection

   claim, a plaintiff must adequately plead that the government treated the plaintiff

   ‘disparately as compared to similarly situated persons and that such disparate

   treatment ... targets a suspect class....’ ” Napolitano, 648 F.3d at 379 (quoting Club

   Italia Soccer & Sports Org., Inc. v Charter Twp. of Shelby, Mich., 470 F.3d 286,

   299 (6th Cir. 2006)). Similarly situated means that “a comparator ... must be

   similar in ‘all relevant respects.’ ” Paterek v Vill. Of Armada, Mich., 801 F.3d 630,

   650 (6th Cir. 2011) (quoting U.S. v Green, 654 F.3d, 637, 650 (6th Cir. 2011)).

   Because Plaintiff cannot point to a similarly situated individual who the City

   treated more favorably, and did so pursuant to a custom, policy or practice of the

   City, the City is entitled to summary judgment on this claim.

           The Individual Plaintiffs allege Centre Park Bar was “unfairly and

   unlawfully targeted for harassment by [Mayor] Duggan and Chief Craig because it

   is an African-American black owned business and the majority owner ... is an


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   African-American woman and because a majority of its patrons are African-

   American.” (Complaint ¶ 96). The Individual Plaintiffs further allege “[n]o other

   bar or restaurant establishment in the Harmonie Park or Paradise Valley area have

   been subjected to the similar police harassment for purported noise complaints or

   for claimed ‘over capacity’ violations of the City’s Fire Code.” (Id. at ¶ 97). But

   Individual Plaintiffs have failed to produce any evidence supporting these

   conclusory allegations.

           For example, Individual Plaintiffs have failed to produce any evidence

   establishing they were treated differently than businesses similarly situated to

   Centre Park Bar. The basis of an equal protection claim is disparate treatment by

   the government of those who are similarly situated. See Bannum, Inc. v City of

   Louisville, 958 F.2d 1354, 1359-1360 (6th Cir. 1992); see also Scarbrough v

   Morgan County Bd. of Educ., 470 F.3d 250, 260 (6th Cir. 2006) (“The threshold

   element of an equal protection claim is disparate treatment.”). Here, while

   Individual Plaintiffs have vaguely suggested “Old Shillelagh’s” and other

   unidentified, so-called “white bars” were not issued citations for supposedly

   similar conduct, aside from Individual Plaintiffs own nonspecific speculation, there

   is no evidence supporting their claim. To wit:

                    Q:        And do you know if complaints were made and no
                              response was – that the police did not respond to noise
                              complaints about any other businesses?


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                    A:        No, they haven’t.

                    Q:        Do you know that?

                    A:        Yes, I know that.

                    Q:        Do you know that complaints were made?

                    A:        I know complaints were made about me –

                    Q:        No, no.

                    A:        I know that complaints were not made about them.

                    Q:        Okay.

                    A:        Because if complaints were made about them, they
                              will be shut down like I was.
   (See Deposition Transcript of Christopher Williams on 4/2/18 at 272:4-:18,

   attached as Exhibit Q (emphasis in original)).

           Moreover, even if these conclusory assertions were somehow sufficient

   (they are not), there remains a complete absence of evidence the citations issued

   to Centre Park Bar were “so unrelated to the achievement of any combination of

   legitimate purposes that the court can only conclude that the government’s actions

   were irrational.” Warren v City of Athens, 411 F.3d 697, 710-11 (6th Cir. 2005).

   In fact, the actual evidence establishes the opposition conclusion. Accordingly,

   this Court should grant summary judgment on Count III of the Complaint because

   Individual Plaintiffs cannot establish the necessary elements of their Equal

   Protection claim.

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   III.    Count IX Fails To State A Claim Upon Which Relief Can Be Granted.

           Count IX of the Amended Complaint alleges a claim for attorney's fees

   under 42 U.S.C. § 1988. There is no such cause of action. See Hall v Wooten, 506

   F.2d 564, 568 (6th Cir.1974) (“[w]e have held that section 1988 does not create

   federal causes of action for violation of civil rights”).

                                      CONCLUSION

           Individual Plaintiffs simply cannot support any of the claims they have

   asserted. Defendant respectfully request that this Honorable Court grant its Motion

   for Summary Judgment and dismiss Individual Plaintiffs’ Complaint with

   prejudice.


                                                Respectfully submitted,

                                                CLARK HILL PLC

                                                By: /s/Reginald M. Turner, Jr.
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                                                Christopher M. Trebilcock (P62101)
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                              CERTIFICATE OF SERVICE

          I hereby certify that on January 4, 2019, I electronically filed the foregoing
   papers with the Clerk of the Court using the ECF system which will send
   notification of such filing to all of the parties of record.

                                          CLARK HILL PLC

                                          /s/Reginald M. Turner, Jr.
                                          Reginald M. Turner, Jr.




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  Statement of Work
  Prepared for: Kotz Sangster - DDA

  Project Scope


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  relationship so we can get to work!


  Nature of the Service
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  DOCUMENT IMPORTING:

                     ■   Data Assessment: (49 GB)
                            ■ Client to ship all data to Nextpoint
                            ■ Data Type: Native Emails
                     ■   Data Transfer:
                            ■ Transfer all data into Nexpoint File Room
                     ■   Data Import:
                            ■ Start import batches
                     ■   Quality Control:
                            ■ Match file counts



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                               ■   Check metadata extraction
                               ■   Assess and repair import batches errors
                               ■   Organize in Nextpoint




  Nextpoint Project Estimate

   Description                                    Quantity             Unit Price         Total Price


   Data                                             49 GB              $250/GB              $12,250




  *Pricing is valid for ​45 days​, Payment Terms are Due on Receipt.
  *Prices subject to change if the complexity/scope of the project changes due to an anomaly that could
  not have been previously identified.




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          EXHIBIT 12
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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


   ROBERT DAVIS, et al.,

                    Plaintiffs,                                    Case No. 17-cv-11742
                                                                   Hon. Mark A. Goldsmith
   vs.

   DETROIT DOWNTOWN
   DEVELOPMENT AUTHORITY, et al.,

               Defendants.
   ____________________________/

                         ORDER REGARDING CONTEMPT PROCEEDINGS

             On November 6, 2018, this Court entered an opinion and order imposing sanctions on

   Plaintiffs’ counsel, Andrew Paterson. 11/6/2018 Op. & Order (Dkt. 107). Mr. Paterson has failed

   to pay the sanctions ordered, claiming belatedly, after Defendants sought to hold him in contempt,

   that he is unable to do so. As stated at the April 11, 2019 hearing, the Court orders as follows:

            The parties shall confer in an attempt to come to an agreeable solution as to the payment
             that the Court has ordered.

            If the parties cannot reach agreement by April 18, 2019, Defendants will have thirty days
             to take discovery regarding Mr. Paterson’s ability to pay. They may issue document
             requests, to which Mr. Paterson must respond and produce documents within ten days of
             being served. They may also serve third-party subpoenas and require that Mr. Paterson
             undergo a creditor’s examination. Defendants’ discovery may seek any and all information
             and records pertaining to Mr. Paterson’s financial condition as to assets, liabilities, income
             and expenses, going back three years, including without limitation, tax returns, related tax
             documents, financial journals and ledgers, credit card and bank statements, and real
             property records. The requests may encompass both his personal records and the records
             of any trust of which he is a beneficiary and any business entity in which he is a principal,
             partner or shareholder. If Defendants determine that the thirty-day period is insufficient,
             they may continue discovery for another thirty days without seeking leave of court.

            After discovery is complete, Defendants shall have ten days to file a brief regarding the
             actions they would like the Court to take, citing appropriate authority. Mr. Paterson shall

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          file a response within ten days after service of Defendants’ brief.

         If Defendants believe that the issue of Mr. Paterson’s ability to pay has no bearing on this
          Court’s authority to incarcerate him as part of a civil contempt process to compel
          compliance with the Court’s order or to permanently bar him from practice in the Eastern
          District of Michigan as a sanction for noncompliance, they may file a brief setting forth
          their position. The brief must be filed no later than May 10, 2019. Mr. Paterson will then
          have one week to file a response.

          SO ORDERED.

   Dated: April 12, 2019                                s/Mark A. Goldsmith
          Detroit, Michigan                             MARK A. GOLDSMITH
                                                        United States District Judge


                                   CERTIFICATE OF SERVICE

   The undersigned certifies that the foregoing document was served upon counsel of record and any
   unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
   addresses disclosed on the Notice of Electronic Filing on April 12, 2019.

                                                        s/Erica Karhoff for Karri Sandusky
                                                        Case Manager




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